Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 11 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:113
                                                                             #:168




             EXHIBIT 1
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 22 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:114
                                                                             #:169




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  9
                            UNITED STATES DISTRICT COURT
 10
 11                       CENTRAL DISTRICT OF CALIFORNIA

 12
    ARNAUD VAN DER GRACHT DE                   Case No. 8:18-cv-00236-AG-JCG
 13 ROMMERSWAEL, Derivatively on
    Behalf of PUMA BIOTECHNOLOGY,
 14 INC.,                                      STIPULATION OF SETTLEMENT
 15                               Plaintiff,
 16          v.
 17 ALAN H. AUERBACH, CHARLES R.
 18 EYLER, JAY M. MOYES, TROY E.
    WILSON, ADRIAN M.
 19 SENDEROWICZ, FRANK E. ZAVRL,
    and THOMAS R. MALLEY,
 20
                          Defendants,
 21
         -and-
 22
    PUMA BIOTECHNOLOGY, INC., a
 23 Delaware corporation,
 24
                    Nominal Defendant.
 25
 26
 27
 28
      STIPULATION OF SETTLEMENT                                             EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                        Page 5
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 33 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:115
                                                                             #:170




  1                                                           28 2018 (the "Stipulation"), is
              This Stipulation of Settlement, dated September __,
  2 made and entered into by and among the following Settling Parties, 1 by and through
  3 their respective counsel of record: (i) plaintiffs Arnaud van der Gracht de
  4 Rommerswael and Paul Duran (collectively, "Federal Plaintiffs"), individually and
  5 derivatively on behalf of nominal defendant Puma Biotechnology ("Puma" or the
  6 "Company"); (ii) plaintiffs Xing Xie and Kevin McKenney, individually and
  7 derivatively on behalf of Puma (collectively, "State Plaintiffs"); (iii) Alan H.
  8 Auerbach, Charles R. Eyler, Jay M. Moyes, Troy E. Wilson, Adrian M. Senderowicz,
  9 Frank E. Zavrl, Thomas R. Malley (collectively, the "Individual Defendants"); and
 10 (iv) Puma. This Stipulation is intended by the Settling Parties to fully, finally, and
 11 forever resolve, discharge, and settle the Released Claims, subject to the terms and
 12 conditions set forth herein.
 13 I.        FACTUAL AND PROCEDURAL BACKGROUND
 14           Puma is a biopharmaceutical company that has focused its efforts almost
 15 entirely on developing and marketing the drug, NERLYNXTM ("neratinib"), a drug
 16 designed to treat patients with human epidermal growth factor receptor 2-positive
 17 breast cancers.       The derivative claims arise from allegedly false and misleading
 18 statements regarding neratinib's safety and efficacy (and corresponding likelihood to
 19 receive approval from the U.S. Food and Drug Administration ("FDA")) and other
 20 alleged wrongdoing occurring between February 2014 and the dates Plaintiffs filed
 21 their derivative actions (the "Relevant Time Period").
 22           A.     Proceedings in the Related Federal Securities Class Action
 23           On June 3, 2015, Puma investors filed a securities class action, entitled Hsu v.
 24 Puma Biotechnology, Inc., No. 8:15-cv-00865-AG-SHK (the "Securities Action"),
 25 which is pending in the Central District of California before the Honorable Andrew J.
 26
         1
 27          All capitalized terms not otherwise defined are defined in section V.1.
 28                                              -1-
      STIPULATION OF SETTLEMENT                                                        EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                                   Page 6
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 44 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:116
                                                                             #:171




  1 Guilford. Judge Guilford denied defendants' motions to dismiss the Securities Action
  2 on September 30, 2016, and July 25, 2017, respectively, and granted plaintiff's motion
  3 for class certification on December 8, 2017. The defendants in the Securities Action
  4 filed their motion for summary judgment on July 10, 2018, which is set for hearing on
  5 September 24, 2018.
  6          B.     Proceedings in the State Derivative Actions
  7          On April 12, 2016, after significant analysis and investigation into the alleged
  8 wrongdoing, plaintiff Xing Xie ("Xie") filed a Verified Stockholder Derivative
  9 Complaint for Breach of Fiduciary Duty, Unjust Enrichment, Abuse of Control, Gross
 10 Mismanagement, and Waste of Corporate Assets, alleging that demand on the Puma
 11 Board to investigate the misconduct and take legal action against the individuals
 12 responsible was futile, in the Los Angeles Superior Court (the "Superior Court"), titled
 13 Xie v. Auerbach, Case No. BC616617 (Cal. Super. Ct.-L.A. Cty.). On April 14, 2016,
 14 plaintiff Kevin McKenney ("McKenney") filed a factually-similar derivative action in
 15 the Superior Court, titled McKenney v. Auerbach, Case No. BC617059 (Cal. Super.
 16 Ct.-L.A. Cty.). On June 21, 2016 the Xie and McKenny actions were consolidated
 17 (the "State Actions"). The State Actions have been stayed since June 21, 2016,
 18 pending resolution of the Securities Action.          Pursuant to the terms that were
 19 negotiated in the stipulation to stay that was granted by the Superior Court,
 20 Defendants provided counsel in the State Actions with several hundred thousand
 21 pages of Bates-stamped documents that were produced in connection with the
 22 Securities Action.
 23          C.     Proceedings in the Federal Derivative Actions
 24          On August 29, 2017, after significant analysis and investigation into the alleged
 25 wrongdoing, including investigation into whether the Puma Board was sufficiently
 26 independent to consider a litigation demand, plaintiff Arnaud van der Gracht de
 27 Rommerswael ("van der Gracht de Rommerswael") sent a litigation demand letter to
 28                                            -2-
      STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                                Page 7
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 55 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:117
                                                                             #:172




  1 the Board demanding that it engage independent outside legal counsel, investigate the
  2 misconduct, and take legal action against the individuals responsible ("Litigation
  3 Demand"). The Litigation Demand was rejected by the Board through a letter dated
  4 January 9, 2018.
  5          On February 9, 2018, van der Gracht de Rommerswael filed his Verified
  6 Stockholder Derivative Complaint for Violation of Securities Law, Breach of
  7 Fiduciary Duty, Waste of Corporate Assets, and Unjust Enrichment in the Central
  8 District of California, alleging that the Litigation Demand was wrongfully refused (the
  9 "van der Gracht de Rommerswael Action").                Plaintiff van der Gracht de
 10 Rommerswael alleges that the Board failed to perform a good faith, independent
 11 investigation of the claims contained in the Litigation Demand, but instead based its
 12 decision to reject the Litigation Demand on a biased investigation previously
 13 conducted by counsel for Puma to develop a defense in the Securities Action.
 14          The van der Gracht de Rommerswael Action is pending before Judge Guilford,
 15 who is also presiding over the Securities Action.
 16          On May 30, 2018, after significant analysis and investigation into the alleged
 17 wrongdoing, plaintiff Paul Duran ("Duran") filed a Verified Stockholder Derivative
 18 Complaint for Breach of Fiduciary Duty, Unjust Enrichment, Abuse of Control, Gross
 19 Mismanagement, and Waste of Corporate Assets, alleging that demand on the Puma
 20 Board to investigate the misconduct and take legal action against the individuals
 21 responsible was futile in the Central District of California (the "Duran Action"). The
 22 Duran Action is also pending before Judge Guilford.
 23          D.     Settlement Efforts
 24          Given the unique circumstances of this case, including recent, positive
 25 developments at Puma as it gained momentum toward commercially launching its
 26 drug, neratinib, in the United States and abroad, counsel for plaintiffs believed that an
 27 early resolution of the derivative claims could be in Puma's best interests. As such,
 28                                           -3-
      STIPULATION OF SETTLEMENT                                                    EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                               Page 8
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 66 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:118
                                                                             #:173




  1 counsel for the plaintiffs in the State Actions and counsel for the van der Gracht de
  2 Rommerswael Action sent separate settlement demands on February 23, 2018, and
  3 April 5, 2018, respectively. Over the next few months, counsel engaged in numerous
  4 telephonic and written exchanges regarding the terms to be included in any settlement,
  5 with a careful eye toward ensuring the settlement included comprehensive corporate
  6 governance reforms tailored to preventing the alleged wrongdoing from recurring by
  7 significantly improving the Board's independence and oversight over the Company's
  8 research and development efforts and public disclosures, and significantly improving
  9 the overall governance structure of the Company.           After continued arm's-length
 10 settlement negotiations, on or about June 29, 2018, the parties agreed upon the
 11 corporate governance reforms to be implemented as part of the Settlement. See
 12 Exhibit A, attached hereto.
 13          After negotiating the principal terms of the Settlement, on July 25, 2018, the
 14 Settling Parties engaged in an all-day, in person formal mediation before Gregory P.
 15 Lindstrom (the "Mediator") to negotiate the remaining terms of the Settlement,
 16 including the amount of attorneys' fees (inclusive of expenses) that Puma will pay to
 17 Plaintiffs' Counsel in connection with the Settlement. Prior to the mediation, the
 18 Settling Parties submitted and exchange mediations briefs. While progress was made,
 19 the Settling Parties were unable to resolve the matter at that time. Following the
 20 mediation, the Mediator continued to work with the Settling Parties and assisted the
 21 Settling Parties in reaching an agreement in principle to settle all derivative claims on
 22 July 30, 2018.
 23 II.      PLAINTIFFS' CLAIMS AND THE BENEFITS OF SETTLEMENT
 24          Plaintiffs believe that the Actions have substantial merit, and Plaintiffs' entry
 25 into this Stipulation and Settlement is not intended to be and shall not be construed as
 26 an admission or concession concerning the relative strength or merit of the claims
 27 alleged in the Actions. However, Plaintiffs and Plaintiffs' Counsel recognize and
 28                                            -4-
      STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                                Page 9
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 77 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:119
                                                                             #:174




  1 acknowledge the significant risk, expense, and length of continued proceedings
  2 necessary to prosecute the Actions against the Individual Defendants through trial and
  3 through possible appeals.            Plaintiffs' Counsel also have taken into account the
  4 uncertain outcome and the risk of any litigation, especially in complex cases such as
  5 the Actions, as well as the difficulties and delays inherent in such litigation. Plaintiffs'
  6 Counsel are also mindful of the inherent problems of establishing standing in
  7 derivative litigation, and the possible defenses to the claims alleged in the Actions.
  8          Plaintiffs' Counsel have conducted extensive investigation and analysis,
  9 including, inter alia: (i) reviewing Puma's press releases, public statements, U.S.
 10 Securities and Exchange Commission ("SEC") filings, and securities analysts' reports
 11 and advisories about the Company, its financial condition, and the status and results of
 12 Puma's research and development efforts relating to its drug, neratinib; (ii) reviewing
 13 related media reports about the Company; (iii) researching applicable law with respect
 14 to the claims alleged in the Actions and potential defenses thereto; (iv) researching
 15 and preparing correspondence related to plaintiff van der Gracht de Rommerswael's
 16 litigation demand; (v) preparing and filing derivative complaints; (vi) reviewing
 17 documents produced to plaintiffs in the State Actions pursuant to the stipulation to
 18 stay that was granted by the Superior Court; (vii) conducting damages analyses;
 19 (viii) reviewing and analyzing relevant documents in the Securities Action—including
 20 the motion to dismiss briefing and the Court's order denying the defendants' motion to
 21 dismiss—and evaluating the merits of, and the defendants' potential liability in
 22 connection with, the Securities Action; (ix) researching corporate governance best
 23 practices; (x) researching and preparing correspondence related to the settlement
 24 demands; (xi) participating in a day-long mediation and several follow-up discussions;
 25 and (xii) negotiating this Settlement with Defendants. Based on Plaintiffs' Counsel's
 26 thorough review and analysis of the relevant facts, allegations, defenses, and
 27 controlling legal principles, Plaintiffs' Counsel believe that the Settlement set forth in
 28                                               -5-
      STIPULATION OF SETTLEMENT                                                       EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                                 Page 10
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 88 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:120
                                                                             #:175




  1 this Stipulation is fair, reasonable, and adequate, and confers substantial benefits upon
  2 Puma. Based upon Plaintiffs' Counsel's evaluation, Plaintiffs have determined that the
  3 Settlement is in the best interests of Puma and have agreed to settle the Actions upon
  4 the terms and subject to the conditions set forth herein.
  5 III.     DEFENDANTS' DENIALS OF WRONGDOING AND LIABILITY
  6          Defendants have denied and continue to deny each and all of the claims and
  7 contentions alleged by Plaintiffs in the Actions. The Individual Defendants have
  8 expressly denied and continue to deny all charges of wrongdoing or liability against
  9 them arising out of any of the conduct, statements, acts, or omissions alleged, or that
 10 could have been alleged in the Actions.
 11          Nonetheless, Defendants have concluded that further litigation of the Actions
 12 would be protracted and expensive, and that it is desirable for the Actions to be fully
 13 and finally settled in the matter and upon the terms and conditions set forth in this
 14 Stipulation.     Defendants have also taken into account the uncertainty and risks
 15 inherent in any litigation, especially in complex cases like the Actions. Defendants
 16 have, therefore, determined that it is desirable and beneficial that the actions be settled
 17 in the manner and upon the terms and conditions set forth in this Stipulation.
 18          Neither this Stipulation, nor any of its terms or provisions, nor entry of the
 19 Judgment, nor any document or exhibit referred or attached to this Stipulation, nor any
 20 action taken to carry out this Stipulation, is, may be construed as, or may be used as
 21 evidence of the validity of any of the Released Claims or an admission by or against
 22 the Individual Defendants of any fault, wrongdoing, or concession of liability
 23 whatsoever.
 24 IV.      INDEPENDENT DIRECTOR APPROVAL
 25          Puma, acting through its independent, non-defendant directors, reviewed the
 26 allegations and the settlement terms, and in a good faith exercise of business judgment
 27
 28                                            -6-
      STIPULATION OF SETTLEMENT                                                      EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                                Page 11
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 99 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:121
                                                                             #:176




  1 determined that the Settlement and each of its terms, as set forth in this Stipulation, to
  2 be in the best interests of Puma.
  3 V.       TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT
  4          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and
  5 among the undersigned counsel for the Settling Parties herein, in consideration of the
  6 benefits flowing to the parties from the Settlement, and subject to the approval of the
  7 Court pursuant to Rule 23.1 of the Federal Rules of Civil Procedure, that the claims
  8 asserted in the Actions and the Released Claims shall be finally and fully
  9 compromised, settled, and released, and the Actions shall be dismissed with prejudice
 10 and with full preclusive effect as to all Settling Parties, upon and subject to the terms
 11 and conditions of this Stipulation, as set forth below.
 12          1.     Definitions
 13          As used in this Stipulation, the following terms have the meanings specified
 14 below:
 15          1.1    "Actions" means, collectively, the Federal Actions and the State Actions.
 16          1.2    "Applicable Puma Shareholders" means any Person who owned Puma
 17 common stock as of the date of the execution of this Stipulation and continues to hold
 18 their Puma common stock as of the date of the Settlement Hearing, excluding the
 19 Individual Defendants, the officers and directors of Puma, members of their
 20 immediate families, and their legal representatives, heirs, successors, or assigns, and
 21 any entity in which Individual Defendants have or had a controlling interest.
 22          1.3    "Board" means Puma's Board of Directors.
 23          1.4    "Court" means the U.S. District Court for the Central District of
 24 California.
 25          1.5    "Defendants" means, collectively, nominal defendant Puma and the
 26 Individual Defendants.
 27          1.6    "Defendants' Counsel" means Cooley LLP and Latham & Watkins LLP.
 28                                            -7-
      STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
      CASE NO. SACV 18-00236 AG (JCGx)                                               Page 12
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 10
                                                            10 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:122
                                                                             #:177




   1          1.7    "Effective Date" means the date by which the events and conditions
   2 specified in paragraph 6.1 of this Stipulation have been met and have occurred.
   3          1.8    "Federal Actions" means the derivative actions styled as van der Gracht
   4 de Rommerswael v. Auerbach, Case No. 8:18-cv-00236-AG-JCG (C.D. Cal.) and
   5 Duran v. Auerbach, Case No. 2:18-cv-04802-AG-DFM (C.D. Cal.).
   6          1.9    "Federal Plaintiffs" means Arnaud van der Gracht de Rommerswael and
   7 Paul Duran.
   8          1.10 "Federal Plaintiffs' Counsel" means Robbins Arroyo LLP, The Rosen
   9 Law Firm, P.A., and The Brown Law Firm, P.C.
  10          1.11 "Final" means the date upon which the last of the following shall occur
  11 with respect to the Judgment approving this Stipulation, substantially in the form of
  12 Exhibit E attached hereto: (1) the expiration of the time to file a notice of appeal from
  13 the Judgment; or (2) if an appeal has been filed, the court of appeals has either
  14 affirmed the Judgment or dismissed that appeal and the time for any reconsideration
  15 or further appellate review has passed; or (3) if a higher court has granted further
  16 appellate review, that court has either affirmed the underlying Judgment or affirmed
  17 the court of appeal's decision affirming the Judgment or dismissing the appeal. For
  18 purposes of this paragraph, an "appeal" shall not include any appeal that concerns only
  19 the issue of attorneys' fees and expenses or the payment of service awards to
  20 Plaintiffs. Any proceeding or order, or any appeal or petition for a writ of certiorari
  21 pertaining solely to the application for attorneys' fees, costs, or expenses, shall not in
  22 any way delay or preclude the Judgment from becoming Final.
  23          1.12 "Individual Defendants" means Alan H. Auerbach, Charles R. Eyler, Jay
  24 M. Moyes, Troy E. Wilson, Adrian M. Senderowicz, Frank E. Zavrl, and Thomas R.
  25 Malley.
  26          1.13 "Judgment" means the Order and Final Judgment to be rendered by the
  27 Court, substantially in the form attached hereto as Exhibit E.
  28                                            -8-
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 13
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 11
                                                            11 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:123
                                                                             #:178




   1          1.14 "Notice" means the Notice of Pendency and Proposed Settlement of
   2 Shareholder Derivative Action, substantially in the form attached hereto as Exhibit C.
   3          1.15 "Person" means an individual, corporation, limited liability corporation,
   4 professional corporation, partnership, limited partnership, limited liability partnership,
   5 association, joint stock company, estate, legal representative, trust, unincorporated
   6 association, government or any political subdivision or agency thereof and any
   7 business or legal entity and their spouses, heirs, predecessors, successors,
   8 representatives, or assignees.
   9          1.16 "Plaintiffs" means collectively, the Federal Plaintiffs and the State
  10 Plaintiffs.
  11          1.17 "Plaintiffs' Counsel" means, collectively, any counsel who has appeared
  12 at any time for any of the Plaintiffs in the Federal Actions or the State Actions.
  13          1.18 "Preliminary Approval Order" means the order to be entered by the
  14 Court, substantially in the form attached hereto as Exhibit B, which preliminarily
  15 approves the terms and conditions of the Settlement as set forth in this Stipulation,
  16 directing that Notice be provided to Applicable Puma Shareholders, and scheduling a
  17 Settlement Hearing to consider whether the Settlement and all of its terms should be
  18 finally approved.
  19          1.19 "Puma"       or   the   "Company"   means     nominal    defendant     Puma
  20 Biotechnology, Inc., a Delaware corporation, and its affiliates, subsidiaries,
  21 predecessors, successors, and assigns.
  22          1.20 "Related Persons" means: (i) with regard to each Individual Defendant,
  23 the Individual Defendants' spouses, marital communities, immediate family members,
  24 heirs, executors, personal representatives, estates, administrators, trusts, predecessors,
  25 successors, and assigns or other individual or entity in which any Individual
  26 Defendant has a controlling interest, and each and all of their respective past and
  27 present officers, directors, employees, agents, affiliates, parents, subsidiaries,
  28                                            -9-
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 14
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 12
                                                            12 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:124
                                                                             #:179




   1 divisions, attorneys, accountants, auditors, advisors, insurers, co-insurers, re-insurers,
   2 heirs, executors, personal representatives, estates, administrators, trusts, predecessors,
   3 successors, and assigns; and (ii) with regard to Puma, all past or present agents,
   4 officers, directors, attorneys, accountants, auditors, advisors, insurers, co-insurers,
   5 reinsurers, partners, controlling shareholders, joint venturers, related or affiliated
   6 entities, advisors, employees, affiliates, predecessors, successors, parents, subsidiaries,
   7 insurers, and assigns for Puma.
   8          1.21 "Released Claims" means any and all actions, suits, claims, debts, rights,
   9 liabilities, and causes of action, whether under federal, state, local, statutory, common
  10 law, foreign law, or any other law, rule or regulation, including both known and
  11 Unknown Claims (as defined in paragraph 1.32 below), that: (a) were asserted or
  12 could have been asserted by any shareholder derivatively on behalf of Puma, or by
  13 Puma, against any Released Person; and (b) concern, arise out of, or relate to (i) the
  14 allegations asserted in the Derivative Actions or the matters and occurrences that were
  15 alleged in the Actions, or (ii) the Settlement, defense or resolution of the Actions,
  16 except for any claims to enforce the Settlement. Excluded from the term "Released
  17 Claims" are all claims alleged in the Securities Action.
  18          1.22 "Released Persons" means collectively, Puma, the Individual Defendants,
  19 and their Related Persons.           "Released Person" means, individually, any of the
  20 Released Persons.
  21          1.23 "Releasing Persons" means Plaintiffs (individually, collectively, and
  22 derivatively on behalf of Puma), all other Applicable Puma Shareholders, Plaintiffs'
  23 Counsel, and Puma. "Releasing Person" means, individually, any of the Releasing
  24 Persons.
  25          1.24 "Securities Action" means the securities class actions styled as Hsu v.
  26 Puma Biotechnology, Inc., No. 8:15-cv-00865-AG-SHK (C.D. Cal.).
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  28                                             - 10 -
       STIPULATION OF SETTLEMENT                                                      EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 15
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 13
                                                            13 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:125
                                                                             #:180




   1          1.25 "Settlement" means the settlement and compromise of the Federal
   2 Actions and the State Actions as provided for herein.
   3          1.26 "Settlement Hearing" means the hearing or hearings at which the Court
   4 will review the adequacy, fairness, and reasonableness of the Settlement.
   5          1.27 "Settling Parties" means, collectively, each and all of the Plaintiffs (on
   6 behalf of themselves and derivatively on behalf of Puma) and Defendants. "Settling
   7 Party" means, individually, any of the Settling Parties.
   8          1.28 "State Plaintiffs" means Xing Xie and Kevin McKenney.
   9          1.29 "State Plaintiffs' Counsel" means The Rosen Law Firm, P.A. and The
  10 Brown Law Firm, P.C.
  11          1.30 "Summary Notice" means the Summary Notice of Pendency and
  12 Proposed Settlement of Shareholder Derivative Action, substantially in the form
  13 attached hereto as Exhibit D.
  14          1.31 "Superior Court" means the Superior Court of the State of California,
  15 County of Los Angeles.
  16          1.32 "Unknown Claims" means any Released Claim(s) which Plaintiffs or
  17 Defendants do not know of or suspect to exist in his, her, or its favor at the time of the
  18 release of the Released Persons. With respect to any and all Released Claims, the
  19 Settling Parties agree that upon the Effective Date, the Settling Parties expressly
  20 waive the provisions, rights and benefits conferred by or under California Civil Code
  21 section 1542, or any other law of the United States or any state or territory of the
  22 United States, or principle of common law, which is similar, comparable, or
  23 equivalent to section 1542, which provides:
  24
              A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
  25          THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN
              HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
  26          RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
              MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
  27          DEBTOR.
  28                                           - 11 -
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 16
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 14
                                                            14 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:126
                                                                             #:181




   1 The Settling Parties acknowledge that they may hereafter discover facts in addition to
   2 or different from those now known or believed to be true by them, with respect to the
   3 subject matter of the Released Claims, but it is the intention of the Settling Parties to
   4 completely, fully, finally, and forever compromise, settle, release, discharge, and
   5 extinguish any and all Released Claims, known or unknown, suspect or unsuspected,
   6 contingent or absolute, accrued or unaccrued, apparent or unapparent, which do now
   7 exist, or heretofore existed, or may hereafter exist, and without regard to the
   8 subsequent discovery of additional or different facts.              The Settling Parties
   9 acknowledge that the foregoing waiver was separately bargained for and is a key
  10 element of this Stipulation of which this release is a part.
  11          2.     Terms of the Settlement
  12         2.1     As a result of the filing, prosecution, and settlement of the Actions, Puma
  13 shall, within forty-five (45) calendar days after the Effective Date, formally express
  14 and/or implement and maintain in substance the corporate governance reforms
  15 identified in Exhibit A attached hereto for a period of not less than five (5) years.
  16 Puma and the Individual Defendants acknowledge and agree that the corporate
  17 governance reforms identified in Exhibit A attached hereto are significant and
  18 extensive and confer substantial benefits upon Puma and its shareholders. Puma and
  19 the Individual Defendants also acknowledge that the prosecution and settlement of the
  20 Actions was a substantial and material factor in the Company's decision to adopt
  21 and/or implement the corporate governance reforms set forth in Exhibit A.
  22          2.2    The Settling Parties further agree that the Settlement shall be conditioned
  23 on Plaintiffs' Counsel conducting reasonable discovery of Puma as is appropriate and
  24 necessary to confirm the fairness and reasonableness of the terms of the Settlement.
  25 The Settling Parties have agreed upon an initial production of documents and will
  26 continue to meet and confer in good faith in the event Plaintiffs believe additional
  27 documents are necessary.
  28                                            - 12 -
       STIPULATION OF SETTLEMENT                                                      EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 17
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 15
                                                            15 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:127
                                                                             #:182



              3.     Approval and Notice
   1
              3.1    Promptly after execution of this Stipulation, and Plaintiffs' Counsel's
   2
       confirmation that the Settlement is fair, reasonable, and in the best interests of Puma
   3
       (after their tailored review of the discovery discussed in paragraph 2.2 above), the
   4
       Settling Parties shall submit this Stipulation together with its exhibits to the Court and
   5
       shall jointly apply for entry of an order (the "Preliminary Approval Order"),
   6
       substantially in the form of Exhibit B attached hereto, requesting: (i) preliminary
   7
       approval of the Settlement set forth in this Stipulation; (ii) approval of the form and
   8
       manner of providing notice of the Settlement to Applicable Puma Shareholders; and
   9
       (iii) a date for the Settlement Hearing, pursuant to Rule 23.1 of the Federal Rules of
  10
       Civil Procedure.
  11
              3.2    Notice to Applicable Puma Shareholders shall consist of a Notice of
  12
       Pendency and Proposed Settlement of Shareholder Derivative Action ("Notice"),
  13
       which includes the general terms of the Settlement set forth in this Stipulation and the
  14
       date of the Settlement Hearing, substantially in the form attached hereto as Exhibit C,
  15
       as well as a Summary Notice of Pendency and Proposed Settlement of Shareholder
  16
       Derivative Action ("Summary Notice"), substantially in the form attached hereto as
  17
       Exhibit D.
  18
              3.3    Puma shall undertake the administrative responsibility for giving notice
  19
       to Applicable Puma Shareholders and shall be solely responsible for paying the costs
  20
       and expenses related to providing such notice to its shareholders. Within ten (10)
  21
       business days after the entry of the Preliminary Approval Order, Puma shall cause the
  22
       Stipulation and Notice to be filed with the SEC along with an SEC Form 8-K or other
  23
       appropriate filing, Puma shall publish the Summary Notice one time in the national
  24
       edition of Investor's Business Daily, and Puma shall also publish the Stipulation and
  25
       Notice on an internet page that Puma shall create for this purpose, which shall be
  26
       accessible via a link on the "Investors" page of Puma's website, the address of which
  27
       shall be contained in the Notice and Summary Notice. If additional notice is required
  28                                            - 13 -
       STIPULATION OF SETTLEMENT                                                       EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                 Page 18
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 16
                                                            16 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:128
                                                                             #:183




   1 by the Court, then the cost and administration of such additional notice will be borne
   2 by Puma. The Settling Parties believe the content and manner of the notice, as set
   3 forth in this paragraph, constitutes adequate and reasonable notice to Puma
   4 shareholders pursuant to applicable law and due process. Prior to the Settlement
   5 Hearing, Defendants' Counsel shall file with the Court an appropriate affidavit or
   6 declaration with respect to filing, publishing, and posting the Notice and Summary
   7 Notice.
   8          3.4    Within four (4) business days after the Judgment becomes Final, the
   9 parties to the State Actions and the Duran Action, respectively, shall jointly apply to
  10 their respective courts for a dismissal with prejudice of the State Actions and the
  11 Duran Action, respectively, and shall use their reasonable best efforts to take, or cause
  12 to be taken, all actions, and to do, or cause to be done, all things reasonably necessary,
  13 proper, or advisable under applicable laws, regulations and agreements, to secure such
  14 dismissal with prejudice.
  15          3.5    Pending the Court's determination as to final approval of the Settlement,
  16 Plaintiffs are barred and enjoined from commencing, prosecuting, instigating, or in
  17 any way participating in the commencement or prosecution of any action asserting any
  18 Released Claim against any of the Released Persons.
  19          4.     Attorneys' Fees and Reimbursement of Expenses
  20         4.1     In recognition of the substantial benefits conferred upon Puma as a direct
  21 result of the prosecution and Settlement of the Actions, and subject to Court approval,
  22 the Individual Defendants shall cause their insurers to pay Plaintiffs' Counsel the
  23 agreed-to amount of $1,175,000 (the "Fee and Expense Amount"). The Fee and
  24 Expense Amount shall constitute final and complete payment for Plaintiffs' attorneys'
  25 fees and expenses that have been incurred or will be incurred in connection with the
  26 Actions. The Fee and Expense Amount shall be funded to Plaintiffs' Counsel within
  27 ten (10) business days of the entry of the Judgment and upon provision by the
  28                                            - 14 -
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 19
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 17
                                                            17 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:129
                                                                             #:184




   1 respective Plaintiffs' Counsel of all required funding information and tax identification
   2 numbers, notwithstanding the existence of any timely filed objections thereto, or
   3 potential for appeal therefrom, or collateral attack on the settlement or any part
   4 thereof.
   5         4.2     The Settling Parties further stipulate that Plaintiffs' Counsel may apply to
   6 the Court for a service award of up to $1,500 for each of the Plaintiffs, only to be paid
   7 upon Court approval, and to be paid from the Fee and Expense Amount in recognition
   8 of Plaintiffs' participation and effort in the prosecution of the Actions. The failure of
   9 the Court to approve any requested service award, in whole or in part, shall have no
  10 effect on the Settlement. Neither Puma nor any of the Individual Defendants shall be
  11 liable for any portion of any service award.
  12         4.3     In the event that the Judgment fails to become Final, then it shall be the
  13 obligation of each of the respective Plaintiffs' Counsel to make appropriate refunds or
  14 repayments to the Defendants' insurers of any attorneys' fees and expenses previously
  15 paid within ten (10) business days from receiving notice from Defendants' Counsel or
  16 from a court of appropriate jurisdiction.         Plaintiffs' Counsel, as a condition of
  17 receiving any part of the Fee and Expense Amount, on behalf of themselves and each
  18 partner and/or shareholder of them, agrees that Plaintiffs' Counsel and their partners
  19 and/or shareholders are subject to the jurisdiction of the Court for the purpose of
  20 enforcing the provisions of this paragraph.
  21         4.4     Defendants shall have no responsibility for, and no liability whatsoever
  22 with respect to, the allocation of the Fee and Expense Amount among Plaintiffs'
  23 Counsel and/or to any other person who may assert some claim thereto, except as
  24 otherwise agreed to in writing.
  25          5.     Releases
  26          5.1    Upon the Effective Date, the Releasing Persons shall be deemed to have
  27 fully, finally, and forever released, relinquished, and discharged the Released Claims
  28                                            - 15 -
       STIPULATION OF SETTLEMENT                                                       EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                 Page 20
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 18
                                                            18 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:130
                                                                             #:185




   1 (including Unknown Claims) against the Released Persons and any and all derivative
   2 claims arising out of, relating to, or in connection with the defense, settlement, or
   3 resolution of the Federal Actions and the State Actions against the Released Persons.
   4 Nothing herein shall in any way impair or restrict the rights of any Settling Party to
   5 enforce the terms of this Stipulation.
   6          5.2    Except as set forth in paragraph 5.3, below, upon the Effective Date, each
   7 of the Defendants shall be deemed to have fully, finally, and forever released,
   8 relinquished, and discharged Federal Plaintiffs, Federal Plaintiffs' Counsel, State
   9 Plaintiffs, and State Plaintiffs' Counsel from all claims (including claims related to
  10 Unknown Claims), arising out of, relating to, or in connection with the institution,
  11 prosecution, assertion, settlement, or resolution of the Federal Actions, the State
  12 Actions, or the Released Claims. Nothing herein shall in any way impair or restrict
  13 the rights of any Settling Party to enforce the terms of this Stipulation.
  14          5.3    Nothing in this Stipulation or in paragraph 5.2 above constitutes or
  15 reflects a waiver or release of any rights or claims of Defendants against their insurers,
  16 or their insurers' subsidiaries, predecessors, successors, assigns, affiliates, or
  17 representatives, including, but not limited to, any rights or claims of Defendants under
  18 any directors' and officers' liability insurance or other applicable insurance coverage
  19 maintained by the Company. Nothing in this Stipulation or in paragraph 5.2 above
  20 constitutes or reflects a waiver or release of any rights or claims of the Individual
  21 Defendants relating in any way to indemnification, whether under any written
  22 indemnification or advancement agreement, or under the Company's charter, by-laws,
  23 or under applicable law.
  24          6.     Conditions of Settlement; Effect of Disapproval, Cancellation, or
  25                 Termination
  26          6.1    The Effective Date shall be conditioned on the occurrence of all of the
  27 following events:
  28                                            - 16 -
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 21
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 19
                                                            19 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:131
                                                                             #:186




   1                 (a)    Board approval of the Settlement, which Defendants' Counsel
   2 represent already has been accomplished;
   3                 (b)    Court entry of the Preliminary Approval Order;
   4                 (c)    Court approval of the method of providing the Notice and
   5 Summary Notice of the Stipulation and proposed Settlement to Applicable Puma
   6 Shareholders, as set forth in paragraph 3.3, and as required by Rule 23.1 of the Federal
   7 Rules of Civil Procedure;
   8                 (d)    final approval of the Settlement by the Court following notice to
   9 Applicable Puma Shareholders and the Settlement Hearing contemplated by the
  10 Stipulation;
  11                 (e)    Court entry of the Judgment, in all material respects in the form set
  12 forth as Exhibit E annexed hereto, approving the Settlement and dismissing with
  13 prejudice the van der Gracht de Rommerswael Action, without awarding costs to any
  14 Party, except as provided herein;
  15                 (f)    Court approval and payment of the Fee and Expense Amount in
  16 accordance with paragraph 4;
  17                 (g)    the passing of the date upon which the Judgment becomes Final;
  18                 (h)    State Court issuance of an order dismissing the State Actions with
  19 prejudice; and
  20                 (i)    Court issuance of an order dismissing the Duran Action with
  21 prejudice.
  22          6.2    If any of the conditions specified above in paragraph 6.1 are not met,
  23 then this Stipulation shall be canceled and terminated subject to paragraph 6.3, unless
  24 counsel for the Settling Parties mutually agree in writing to proceed with this
  25 Stipulation.
  26          6.3    If for any reason the Effective Date does not occur, or if this Stipulation
  27 is in any way canceled, terminated or fails to become Final in accordance with its
  28                                             - 17 -
       STIPULATION OF SETTLEMENT                                                       EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                 Page 22
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 20
                                                            20 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:132
                                                                             #:187




   1 terms, then: (a) all Settling Parties and Released Persons shall be restored to their
   2 respective positions in the Federal Actions and the State Actions as of July 30, 2018;
   3 (b) all releases delivered in connection with this Stipulation shall be null and void,
   4 except as otherwise provided for in this Stipulation; (c) the Fee and Expense Amount
   5 paid to Plaintiffs' Counsel shall be refunded and returned within ten (10) business
   6 days; and (d) all negotiations, proceedings, documents prepared, and statements made
   7 in connection herewith shall be without prejudice to the Settling Parties, shall not be
   8 deemed or construed to be an admission by a Settling Party of any act, matter, or
   9 proposition, and shall not be used in any manner for any purpose in any subsequent
  10 proceeding in the Federal Actions, the State Actions, or in any other action or
  11 proceeding. In such event, the terms and provisions of this Stipulation shall have no
  12 further force and effect with respect to the Settling Parties and shall not be used in the
  13 Federal Actions, the State Actions or in any other proceeding for any purpose.
  14          7.     Bankruptcy
  15          7.1    In the event any proceedings by or on behalf of Puma, whether
  16 voluntary or involuntary, are initiated under any chapter of the United States
  17 Bankruptcy Code, including any act of receivership, asset seizure, or similar federal
  18 or state law action ("Bankruptcy Proceedings"), the Settling Parties agree to use their
  19 reasonable best efforts to obtain all necessary orders, consents, releases, and
  20 approvals for effectuation of this Stipulation and Court approval of the Settlement in
  21 a timely and expeditious manner. By way of example only, the Settling Parties agree
  22 to cooperate in making applications and motions to the bankruptcy court for relief
  23 from any stay, approval of the Settlement, authority to release funds, authority for
  24 the Defendants' insurer(s) to disburse insurance proceeds consistent with this
  25 Stipulation, authority to release claims and indemnify officers and directors, and
  26 authority for the Court and the Superior Court to enter all necessary orders and
  27
  28                                           - 18 -
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 23
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 21
                                                            21 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:133
                                                                             #:188




   1 judgments, and any other actions reasonably necessary to effectuate the terms of the
   2 Settlement.
   3          7.2    If any Bankruptcy Proceedings by or on behalf of Puma are initiated
   4 prior to the payment of the Fee and Expense Amount, the Settling Parties shall agree
   5 to seek an order from the bankruptcy court presiding over such Bankruptcy
   6 Proceedings: (i) either lifting the automatic stay for the limited purpose of
   7 authorizing such payment, or finding that the payment of the Fee and Expense
   8 Amount by the Defendants' insurer under their respective policies or related
   9 compromise of coverage does not violate the automatic stay; and (ii) finding that the
  10 payment of the Fee and Expense Amount by the Defendants' insurer under their
  11 respective policies or related compromise of coverage does not constitute a
  12 preference, voidable transfer, fraudulent transfer, or similar transaction. In addition,
  13 in the event of any Bankruptcy Proceedings by or on behalf of Puma, the Settling
  14 Parties agree that all dates and deadlines in the Actions, if any, or any dates and
  15 deadlines associated with the appeal of the Actions, if any, will be extended for such
  16 periods of time as are necessary to obtain necessary orders, consents, releases, and
  17 approvals from the bankruptcy court to carry out the terms and conditions of the
  18 Settlement.
  19          8.     Miscellaneous Provisions
  20          8.1    The Settling Parties: (a) acknowledge that it is their intent to consummate
  21 this Stipulation; and (b) agree to act in good faith and cooperate to take all reasonable
  22 and necessary steps to expeditiously implement the terms and conditions of this
  23 Stipulation.
  24          8.2    In the event that any part of the Settlement is found to be unlawful, void,
  25 unconscionable, or against public policy by a court of competent jurisdiction, the
  26 remaining terms and conditions of the Settlement shall remain intact.
  27
  28                                            - 19 -
       STIPULATION OF SETTLEMENT                                                      EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 24
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 22
                                                            22 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:134
                                                                             #:189




   1          8.3    The Settling Parties intend this Settlement to be a final and complete
   2 resolution of all disputes between them with respect to the Federal Actions and the
   3 State Actions. The Settlement comprises claims that are contested and shall not be
   4 deemed an admission by any Settling Party as to the merits of any claim, allegation, or
   5 defense. The Settling Parties and their respective counsel agree that at all times
   6 during the course of the litigation, each has complied with the requirements of the
   7 applicable laws and rules of the Court, including, without limitation, Rule 11 of the
   8 Federal Rules of Civil Procedure, and section 128.7 of the California Code of Civil
   9 Procedure.
  10          8.4    Each of the Individual Defendants expressly denies and continues to deny
  11 all allegations of wrongdoing or liability against himself or herself arising out of any
  12 conduct, statements, acts, or omissions alleged, or which could have been alleged, in
  13 the Actions. The existence of the provisions contained in this Stipulation shall not be
  14 deemed to prejudice in any way the respective positions of the Settling Parties with
  15 respect to the Actions, shall not be deemed a presumption, a concession, or admission
  16 by any of the Settling Parties of any fault, liability, or wrongdoing as to any facts,
  17 claims, or defenses that have been or might have been alleged or asserted in the
  18 Actions or with respect to any of the claims settled in the Actions, or any other action
  19 or proceeding, and shall not be interpreted, construed, deemed, invoked, offered, or
  20 received in evidence or otherwise used by any person in the Actions, or in any other
  21 action or proceeding, except for any litigation or judicial proceeding arising out of or
  22 relating to this Stipulation or the Settlement whether civil, criminal, or administrative,
  23 for any purpose other than as provided expressly herein.
  24          8.5    This Stipulation may be modified or amended only by a writing signed
  25 by the signatories hereto.
  26          8.6    This Stipulation shall be deemed drafted equally by all the Settling
  27 Parties.
  28                                           - 20 -
       STIPULATION OF SETTLEMENT                                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 25
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 23
                                                            23 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:135
                                                                             #:190




   1          8.7    No representations, warranties, or inducements have been made to any of
   2 the Parties concerning this Stipulation or its exhibits other than the representations,
   3 warranties, and covenants contained and memorialized in such documents.
   4          8.8    Each counsel or other Person executing this Stipulation or its exhibits on
   5 behalf of any of the Settling Parties hereby warrants that such Person has the full
   6 authority to do so.
   7          8.9    The exhibits to this Stipulation are material and integral parts hereof and
   8 are fully incorporated herein by this reference.
   9          8.10 This Stipulation and the exhibits attached hereto constitute the entire
  10 agreement among the Settling Parties with respect to the subject matter hereof and
  11 supersede all prior and contemporaneous oral and written agreements and discussions,
  12 except as to any written agreement that includes a provision pertaining to allocation of
  13 attorneys' fees and expenses to Plaintiffs' Counsel.
  14          8.11 In the event that there exists a conflict or inconsistency between the terms
  15 of this Stipulation and the terms of any exhibit hereto, the terms of this Stipulation
  16 shall prevail.
  17          8.12 This Stipulation may be executed in one or more counterparts, including
  18 by signature transmitted by facsimile or e-mailed PDF files. Each counterpart, when
  19 so executed, shall be deemed to be an original, and all such counterparts together shall
  20 constitute the same instrument.
  21          8.13 This Stipulation shall be considered to have been negotiated, executed
  22 and delivered, and to be wholly performed, in the State of California, and the rights
  23 and obligations of the parties to this Stipulation shall be construed and enforced in
  24 accordance with, and governed by, the internal, substantive laws of the State of
  25 California without giving effect to that State's choice of law principles.
  26          8.14 The Court shall retain jurisdiction with respect to implementation and
  27 enforcement of the terms of this Stipulation, and the Settling Parties and their counsel
  28                                            - 21 -
       STIPULATION OF SETTLEMENT                                                      EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 26
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 24
                                                            24 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:136
                                                                             #:191




   1 submit to the jurisdiction of the Court solely for purposes of implementing and
   2 enforcing the Settlement embodied in this Stipulation.
   3          IN WITNESS WHEREOF, the Settling Parties have caused this Stipulation to
   4 be executed by their duly authorized attorneys.
                      21 2018
   5 Dated: September __,                     ROBBINS ARROYO LLP
                                              BRIAN J. ROBBINS
   6                                          KEVIN A. SEELY
                                              ASHLEY R. RIFKIN
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   9
                                              ASHLEY R. RIFKIN
  10
                                              600 B Street, Suite 1900
  11                                          San Diego, CA 92101
  12                                          Telephone: (619) 525-3990
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  13                                          brobbins@robbinsarroyo.com
                                              kseely@robbinsarroyo.com
  14                                          arifkin@robbinsarroyo.com
  15                                          Counsel for Plaintiff Arnaud van der
                                              Gracht de Rommerswael
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  28                                         - 22 -
       STIPULATION OF SETTLEMENT                                                EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                          Page 27
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 25
                                                            25 of
                                                               of 70
                                                                  70 Page
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                                                                          ID #:137
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                                                      Lend Goaansel,fc~r ,l'Zaantaffs Xis and
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          Dated. Septe~mb~r~,~Q1$                      THE BROWN LAW FIRM.,P.C,
                                                       TIMOTHY W.BI~OWl~1
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                                                                                                   EXHIBIT 1
                                                                                                    Page 28
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 26
                                                            26 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:138
                                                                             #:193



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                                           Counsel for defendants Alan H.
  10                                       Auerbach, Charles R. Eyler, Jay M.
                                           Moyes, Troy E. Wilson, Adrian M.
  11                                       Senderowicz, Frank E. Zavrl, Thomas R.
                                           Malley, and nominal defendant Puma
  12                                       Biotechnology, Inc.
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       STIPULATION OF SETTLEMENT                                               EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                         Page 29
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 27
                                                            27 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:139
                                                                             #:194




                Exhibit A
                                                                            EXHIBIT 1
                                                                             Page 30
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 28
                                                            28 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:140
                                                                             #:195




   I.     PROPOSED CORPORATE GOVERNANCE ENHANCEMENTS

          The corporate governance reforms discussed below are critical for improving the
   functioning of the Company and conveying to investors that they can invest in Puma with
   confidence. Among other things, we propose that the Board adopt resolutions and amend
   appropriate committee charters to ensure adherence to at least a significant portion of the
   following corporate governance reforms, to be maintained for a period of not less than five years:

          A.      Appointment of One New, Independent Director

                  1.     Size of the Board: The Board is currently comprised of six directors. The
                         Board shall add an additional Independent Director (as defined below),
                         bringing the Board to seven members. The Corporate Governance
                         Guidelines, which currently require the Board to maintain five members,
                         shall be amended to reflect that the Board shall maintain seven members.

                  2.     Procedure for Identifying New Independent Director: Candidates for the
                         Board shall be identified pursuant to the following procedures which are
                         designed to ensure stockholder participation in the identification of
                         qualified, experienced, independent, and effective directors:

                         (a)     The Nominating and Governance Committee shall identify an
                                 objective set of criteria.

                         (b)     Large independent stockholders holding 5.0% or more of Puma
                                 common stock who are not affiliated with a defendant (“Large
                                 Stockholders”) will be asked to submit recommendations.

                         (c)     The Nominating and Governance Committee shall review the
                                 individuals recommended by the Company’s Large Stockholders
                                 and recommend candidates the Nominating and Governance
                                 Committee considers qualified to serve as a board member.

                         (d)     In the event that the Nominating and Governance Committee does
                                 not select any of the candidates proposed, the Large Stockholders
                                 shall be advised of this determination, including the reasons for it,
                                 and the Large Stockholders shall be given one additional
                                 opportunity to submit qualified candidates. If, after this second
                                 opportunity, vacancies remain, the Large Stockholders shall be
                                 advised of this determination, including the reasons for it, and the
                                 Nominating and Governance Committee shall identify suitable
                                 candidates.

                  3.     Stockholder Input Regarding Future Director Nominees: Puma shall
                         amend its Corporate Governance Guidelines to allow any Large
                         Stockholders to recommend director nominees to the Board and to require
                         the Nominating and Governance Committee to consider all such
                         recommendations in connection with the nomination of new directors.


                                                                                                  EXHIBIT 1
                                                                                                   Page 31
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 29
                                                            29 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:141
                                                                             #:196




                    The Nominating and Governance Committee’s deliberations and decision-
                    making with respect to the nominees shall be reflected in the minutes of
                    the Committee’s proceedings.

         B.   Board of Directors — Governance Changes

              1.    Board Independence: Currently, Independent Directors must constitute a
                    majority of the Board. Going forward, at least two-thirds of the members
                    of the Board shall be “independent directors,” as defined in the NASDAQ
                    listing standards, Sarbanes-Oxley Act, and described in Section I.B.2
                    below. In the event the Board is not in compliance with this requirement,
                    it will take steps to return to compliance within ninety days. Each
                    Independent Director shall confirm his or her status as an independent
                    director annually and shall promptly inform the Board or Nominating and
                    Governance Committee of any change in his or her status that would
                    disqualify him or her as an Independent Director.

              2.    Director Independence Standard Improvements:

                    (a)    In addition to Nasdaq listing standards and Sarbanes-Oxley Act
                           requirements, to be deemed “independent” for purposes of the
                           director independence requirements, a director shall not:

                           (i)     Have been employed by the Company or its subsidiaries for
                                   more than one year within the last five calendar years;

                           (ii)    Have any personal service contract(s) with the Company or
                                   any member of the Company’s senior management;

                           (iii)   Have any interest in any non-Company related investment
                                   that overlaps with an investment by the Company and/or its
                                   senior management (including Mr. Auerbach);

                           (iv)    During the current calendar year or any of the three
                                   immediately preceding calendar years, have any business
                                   relationship with the Company for which the Company has
                                   been required to make disclosure under Item 404
                                   Regulation S-K, other than for service as a director or for
                                   which relationship no more than de minimis remuneration
                                   (as defined below) was received in any one such year;
                                   provided, however, that the need to disclose any
                                   relationship that existed prior to a director joining the
                                   Board shall not in and of itself render the director non-
                                   independent;

                           (v)     Have any of the relationships described in subsections
                                   (i)-(iv) above with any “affiliate” of the Company as



                                                                                          EXHIBIT 1
                                                                                           Page 32
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 30
                                                            30 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:142
                                                                             #:197




                                   determined pursuant to applicable U.S. Securities and
                                   Exchange Commission guidance; nor

                           (vi)    Be a member of the immediate family of any person
                                   described in subsections (i)-(iv) above.

                    (b)    A director is deemed to have received remuneration (other than
                           remuneration as a director, including remuneration provided to a
                           nonexecutive Board or committee Chairman), directly or
                           indirectly, if remuneration, other than de minimis remuneration,
                           was paid by the Company, its subsidiaries, or affiliates, to any
                           entity in which the director has a beneficial ownership interest of
                           five percent or more, or to an entity by which the director is
                           employed other than as a director. Remuneration is deemed de
                           minimis remuneration if such remuneration is $120,000 or less in
                           any calendar year, or, if such remuneration is paid to an entity, if it:
                           (i) is less than or equal to $1 million in any calendar year, or one
                           percent (1%) of the gross revenues of the entity in any calendar
                           year, whichever amount is less; and (ii) did not directly result in a
                           material increase in the compensation received by the director
                           from that entity.

              3.    Director Continuing Education: The Corporate Governance Guidelines
                    reflect that the Company must maintain a continuing education program
                    for all directors, but no specifics are provided. The Company shall adopt a
                    formal continuing education program that requires, at a minimum, the
                    following:

                    (a)    Each director shall at least once every three years attend one multi-
                           day training course provided by a nationally recognized corporate
                           director education provider. Any new directors shall attend such a
                           training course within 6 months of joining the Board.

                    (b)    The Company’s CEO shall annually select a topic they believe to
                           be of particular importance to the Company or the Board. The
                           CEO will present on this topic, or arrange for a person
                           knowledgeable regarding the subject to present on this topic, in
                           front of the entire Board, whether at a regularly scheduled Board
                           meeting or an additionally scheduled meeting. Such topics may
                           include, but are not limited to, coverage of compliance with
                           Generally Accepted Accounting Principles (“GAAP”), the
                           Sarbanes Oxley Act (“SOX”), regulatory requirements for New
                           Drug Application (“NDA”) submissions, corporate governance,
                           assessment of risk, compliance auditing, and reporting
                           requirements for publicly traded companies.




                                                                                               EXHIBIT 1
                                                                                                Page 33
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 31
                                                            31 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:143
                                                                             #:198




                4.     Annual Meetings: Each member of the Board is strongly encouraged to
                       attend each annual stockholder meeting in person, and, during the annual
                       stockholder meeting, stockholders shall have the right to ask questions
                       orally or in writing, and to receive answers and discussion where
                       appropriate from the CEO and members of the Board.

                5.     Limited Director Engagements Outside of Puma: Puma shall require
                       directors to seek approval from the Board in advance of accepting an
                       invitation to serve on the board of another public company. Puma shall
                       amend Section II of the Corporate Governance Guidelines (the paragraph
                       titled “Membership on Other Boards”) to include: “The Chief Executive
                       Officer of Puma shall not serve on the board of directors of more than
                       three public companies, including Puma.”

                6.     Director Stock Ownership Guidelines: Although the Corporate
                       Governance Guidelines encourage directors to have a financial stake in the
                       Company, they do not currently require a minimum number of share
                       ownership. The Corporate Governance Guidelines shall be amended to
                       require each nonemployee director to attain beneficial ownership of not
                       less than 10,000 shares of the Company’s common stock within three
                       years and to retain such minimum beneficial stock ownership so long as he
                       or she continues to serve as a director. Unless otherwise approved by a
                       majority of the board, nonemployee directors shall be required to refrain
                       from selling shares (other than for the purpose of paying federal or state
                       income taxes related to the acquisition of such shares) until such minimum
                       beneficial stock ownership is attained.

                7.     Disclosure of Committee Membership: The Company shall be required to
                       disclose current committee membership on its website.

         C.     Nominating and Corporate Governance Committee

          Puma shall adopt a resolution to amend the Nominating and Corporate Governance
   Committee Charter. The Nominating and Corporate Governance Committee Charter shall
   require the following, at a minimum:

                1. The Nominating and Corporate Governance Committee shall consist of at
                   least three members, as opposed to the currently required minimum of two
                   members;

                2. The Nominating and Corporate Governance Committee shall meet with each
                   prospective new Board member prior to his or her nomination to the Board
                   and then recommend whether such individual shall be nominated for
                   membership to the Board. In determining whether to recommend nomination
                   of a prospective Board member, the Nominating and Corporate Governance
                   Committee shall complete a background check and consider, among other
                   things, interlocking directorships and substantial business, civic, and/or social



                                                                                                EXHIBIT 1
                                                                                                 Page 34
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 32
                                                            32 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:144
                                                                             #:199




                    relationships with other members of the Board that could impair the
                    prospective Board member’s ability to act independently from the other Board
                    members.

               3. Puma shall post the amended Nominating and Corporate Governance
                  Committee Charter on its website.

         D.    Improvements to the Compensation Committee

        Puma shall adopt a resolution to amend the Compensation Committee Charter. The
   Compensation Committee Charter shall require the following: at a minimum:

               1.      The Compensation Committee shall consist of at least three members, as
                       opposed to the currently required minimum of two members;

               2.      In determining, setting, or approving annual short-term compensation
                       arrangements, the Compensation Committee shall take into account the
                       particular executive’s performance as it relates to both legal compliance
                       and compliance with the Company’s internal policies and procedures.
                       This shall not affect payments or benefits that are required to be paid
                       pursuant to the Company’s plans, policies, or agreements;

               3.      In determining, setting, or approving termination benefits and/or
                       separation pay to executive officers, the Compensation Committee shall
                       take into consideration the circumstances surrounding the particular
                       executive officer’s departure and the executive’s performance as it relates
                       to both legal compliance and compliance with the Company’s internal
                       policies and procedures. This shall not affect payments or benefits that are
                       required to be paid pursuant to the Company’s plans, policies, or
                       agreements; and

               4.      Puma shall post the amended Compensation Committee Charter on its
                       website.

         E.    Audit Committee

               1.      Audit Committee Executive Sessions: The Audit Committee shall meet in
                       executive session for at least a portion of each regular meeting of the
                       Audit Committee.

               2.      Puma shall adopt a resolution to amend the Audit Committee Charter. The
                       Audit Committee Charter shall require the following, at a minimum:

                       (a)    Puma shall agree that the CFO shall certify to the Audit Committee
                              on an annual basis that he or she has performed, or the Company’s
                              outside auditor has performed, a risk assessment pertaining to
                              financial reporting risks and promptly addressed potentially
                              unlawful activities;


                                                                                               EXHIBIT 1
                                                                                                Page 35
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 33
                                                            33 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:145
                                                                             #:200




                         (b)    In conducting its duties, the Audit Committee shall inform the full
                                Board on an ongoing basis of any material suspected errors in the
                                work of the independent audit, or in the Company’s maintenance
                                of accounting records, including records for intercompany
                                transactions among its subsidiaries. The Audit Committee shall
                                also inform the full Board on an ongoing basis if, in conducting its
                                duties, it finds that the Company has in insufficient liquidity to
                                operate its business successfully;

                         (c)    The Audit Committee shall receive annually a report listing all
                                trades in Puma securities engaged in by Section 16 officers; and

                         (d)    Puma shall post the amended Audit Committee charter on its
                                website.

          F.     Committee Chairs

         Puma shall amend Section VII of its Corporate Governance Guidelines (the paragraph
   titled “Selection of Committee Chairs”) to expressly prohibit any individual member of the
   Board from being the chairman of more than one committee of the Board at a time.

          G.     Management Assessment of Internal Controls

           Management shall work with the Audit Committee and, to the extent relevant, the R&D
   Committee, to assess the adequacy of the Company’s internal controls over financial reporting
   and disclosure controls and procedures, and shall report in the Company’s Annual Report on
   Form 10-K any identified material weaknesses with respect to, among other things, the
   Company’s internal communication policies and procedures regarding the public disclosure of
   material information concerning the Company’s product pipeline, research and development
   efforts, results of pre-clinical studies and clinical trials, status of NDAs, and communications
   with the FDA.

          H.     Creation of Research and Development Committee

           Puma shall create a Board-level Research and Development Committee for the purpose
   of, among other things, overseeing the Company’s product pipeline and research and
   development efforts, including oversight and evaluation of the Company’s clinical trials and
   clinical development risk. The R&D Committee shall operate pursuant to a Charter that shall be
   made available on the Corporate Governance section of the Company’s website and include at
   least the following provisions:

                 1.      Membership:

                         (a)    The R&D Committee shall be composed of at least three directors,
                                each of whom is an Independent Director (as defined in Section
                                I.B.2 above).




                                                                                                EXHIBIT 1
                                                                                                 Page 36
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 34
                                                            34 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:146
                                                                             #:201




                    (b)    A majority of R&D Committee members must have sufficient
                           scientific and/or medical expertise to review and evaluate the
                           progress of the Company’s product pipeline.

                    (c)    At least one member of the R&D Committee must also be a
                           member of the Audit Committee.

                    (d)    The members of the R&D Committee and its chairman shall be
                           selected annually by the Board. Unless a Chair is appointed by the
                           full Board, the members of the R&D Committee may designate a
                           Chair by a majority vote of the full R&D Committee membership;
                           provided, however, that the Chair shall not be someone who
                           received 25% or more withheld votes in the last election.

              2.    General Responsibilities:

                    (a)    The R&D Committee shall meet with the Chief Medical and
                           Scientific Officer at least quarterly to review the progress of the
                           Company’s product pipeline, including a review and analysis of
                           the progress and results of the Company’s pre-clinical studies and
                           clinical trials.

                    (b)    The R&D Committee shall assess each product’s progress against
                           its targets, taking into account the results of the Company’s pre-
                           clinical studies and clinical trials.

                    (c)    The R&D Committee shall be timely provided with copies of all
                           communications with the FDA.

                    (d)    The R&D Committee shall review and pre-approve (prior to public
                           release) the Company’s material public disclosures related to its
                           product pipeline, research and development efforts, results of pre-
                           clinical studies and clinical trials, status of NDAs, and
                           communications with the FDA.

              3.    Meetings: The R&D Committee shall meet at least quarterly. The R&D
                    Committee shall maintain minutes of its meetings, which will be filed with
                    the minutes of the meetings of the Board.

              4.    Reporting: The R&D Committee shall make a presentation to the entire
                    Board at least quarterly, together with written documentation,
                    summarizing all significant findings concerning the progress of the
                    Company’s product pipeline, including any material information that
                    impacts the Company’s public disclosures regarding those products, the
                    results of related pre-clinical studies and clinical trials, the status of the
                    Company’s NDAs, and communications with the FDA.




                                                                                              EXHIBIT 1
                                                                                               Page 37
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 35
                                                            35 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:147
                                                                             #:202




                 5.     Independent Advisors: The R&D Committee is authorized, without further
                        action by the Board, to engage external consultants and advisors as
                        deemed appropriate by the R&D Committee in its sole discretion to
                        perform its duties and responsibilities.

                 6.     Access to Information: The R&D Committee shall be authorized to
                        request members of senior management, outside counsel and other
                        advisors to participate in Committee meetings. The R&D Committee shall
                        have access to books, records, facilities and personnel of the Company
                        with respect to any matters within the scope of its responsibilities, as it
                        shall deem appropriate.

                 7.     Self-Evaluation: The R&D Committee shall: (a) evaluate its own
                        performance annually and deliver a report to the Board setting forth the
                        results of its evaluation; and (b) review and reassess the adequacy of its
                        Charter annually and recommend any proposed changes to the Board for
                        its approval.

          I.     Stockholders’ Ability to Call Special Meetings of the Board

   The Company shall amend its Bylaws to reflect that Special Meetings may be called by one or
   more stockholders holding shares in the aggregate entitled to cast more than 25% of the votes
   that that meeting.

          J.     Scientific Advisory Board

          The Company shall disclose the members of its Scientific Advisory Committee on its
   website.

          K.     The Related Party Transactions Policy

        Puma currently has a written Related Party Transactions Policy and Procedures (the “RPT
   Policy”). Puma shall amend its RPT Policy to provide for the following, in addition to the
   provisions already in the RPT Policy:

                 1.     All Board members shall submit to the Corporate Secretary an up-to-date
                        list of companies in which they are a director, an officer, and/or of which
                        they own a controlling interest, and to promptly update the list when any
                        changes occur;

                 2.     The Corporate Secretary will implement procedures to ensure that any
                        material transaction that Puma is contemplating that would confer a
                        monetary or other benefit to a party that is related to Puma, especially its
                        parent companies and subsidiaries, will promptly be disclosed to the
                        Board. Materiality of such transactions and whether such transactions are
                        with a party that is related to Puma shall be determined by the factors set
                        forth under Item 404(a) of Regulation S-K. The procedures shall include
                        written disclosure to the Board of the details of any such transaction


                                                                                                EXHIBIT 1
                                                                                                 Page 38
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 36
                                                            36 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:148
                                                                             #:203




                       including the nature of the relationship between the proposed counterparty
                       and the party related to Puma, financial terms and other pertinent
                       information; and

                3.     The Board’s independent directors must approve or ratify any related-
                       party transactions and Puma must make timely disclosures on an annual
                       basis of all such transactions that are determined to be material. The
                       Board’s independent directors will consider the business purpose for any
                       proposed related-party transaction, the fairness of the transaction to the
                       Company, and whether the proposed transaction impairs the independence
                       of any outside director or presents an improper conflict of interest for any
                       Puma officer or director.

         L.     Whistleblower Program

          Although the Company has a whistleblower hotline, the following reforms will help
   ensure complaints are escalated to management and the Board, as appropriate:

                1.     The provisions of the Code of Ethics shall make clear that the
                       whistleblowing provisions are designed to report any potential or
                       suspected violation of any federal or state law (in any form, including
                       accounting violations, insider trading, etc.), and not simply to report
                       violations of internal Puma policies.

                2.     Log of Whistleblower Complaints: A log of whistleblower complaints, as
                       well as the results of all investigations of complaints, shall be
                       memorialized in writing and maintained for a period of not less than ten
                       years.

                3.     Review of Whistleblower Log: The Company shall require its external
                       auditor to review the log and investigation results in connection with each
                       annual audit.

                4.     Board Involvement: At each regularly- scheduled Board meeting, the
                       Board shall be provided with a summary of the types of complaints
                       received, as well as any material information resulting from any internal
                       investigation into such complaints.




                                                                                               EXHIBIT 1
                                                                                                Page 39
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 37
                                                            37 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:149
                                                                             #:204




                 Exhibit B
                                                                            EXHIBIT 1
                                                                             Page 40
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 38
                                                            38 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:150
                                                                             #:205




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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11 ARNAUD VAN DER GRACHT DE                  Case No. 8:18-cv-00236-AG-JCG
     ROMMERSWAEL, Derivatively on
  12 Behalf of PUMA BIOTECHNOLOGY,
     INC.,                                     [PROPOSED] PRELIMINARY
  13                                           APPROVAL ORDER
                         Plaintiff,
  14
           v.                                  EXHIBIT B
  15
     ALAN H. AUERBACH, CHARLES R.
  16 EYLER, JAY M. MOYES, TROY E.
  17 WILSON, ADRIAN M.
     SENDEROWICZ, FRANK E. ZAVRL,
  18 and THOMAS R. MALLEY,
  19                           Defendants,
  20         -and-
  21 PUMA BIOTECHNOLOGY, INC., a
     Delaware corporation,
  22
  23                 Nominal Defendant.

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       [PROPOSED] PRELIMINARY APPROVAL ORDER                                EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                      Page 41
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 39
                                                            39 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:151
                                                                             #:206




   1         This matter came before the Court for a hearing on ___________, 2018.
   2 Plaintiff has made an unopposed motion, pursuant to Rule 23.1 of the Federal Rules of
   3 Civil Procedure, for an order: (i) preliminarily approving the proposed settlement
   4 ("Settlement") of shareholder derivative claims, in accordance with the Stipulation of
   5 Settlement dated September 28, 2018 (the "Stipulation"); and (ii) approving the form
   6 and manner of the Notice of the Settlement.1
   7         WHEREAS, the Stipulation sets forth the terms and conditions for the
   8 Settlement, including, but not limited to a proposed Settlement and dismissal of the
   9 following shareholder derivative actions with prejudice as to the Released Persons:
  10 (i) the above-captioned action, titled van der Gracht de Rommerswael v. Auerbach,
  11 Case No. 8:18-cv-00236-AG-JCG (C.D. Cal.); (ii) Xie v. Auerbach, Case No.
  12 BC616617 (Cal. Super. Ct.-L.A. Cty.); (iii) McKenney v. Auerbach, Case No.
  13 BC617059 (Cal. Super. Ct.-L.A. Cty.); and (iv) Duran v. Auerbach, Case No. 2:18-cv-
  14 04802-AG-DFM (C.D. Cal.) (collectively, the "Actions");
  15         WHEREAS, the Court having: (i) read and considered Plaintiff's Unopposed
  16 Motion for Preliminary Approval of Shareholder Derivative Settlement together with
  17 the accompanying Memorandum of Points and Authorities; (ii) read and considered
  18 the Stipulation, as well as all the exhibits attached thereto; and (iii) heard and
  19 considered arguments by counsel for the Settling Parties in favor of preliminary
  20 approval of the Settlement;
  21         WHEREAS, the Court finds, upon a preliminary evaluation, that the proposed
  22 Settlement falls within the range of possible approval criteria, as it provides a
  23 beneficial result for Puma and appears to be the product of serious, informed, non-
  24 collusive negotiations overseen by an experienced mediator; and
  25
       1
  26   Except as otherwise expressly provided below or as the context otherwise requires,
     all capitalized terms contained herein shall have the same meanings and/or definitions
  27 as set forth in the Stipulation.
  28                                          -1-
       [PROPOSED] PRELIMINARY APPROVAL ORDER                                     EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                           Page 42
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 40
                                                            40 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:152
                                                                             #:207




   1         WHEREAS, the Court also finds, upon a preliminary evaluation, that Puma
   2 shareholders should be apprised of the Settlement through the proposed form of
   3 notice, allowed to file objections, if any, thereto, and appear at the Settlement Hearing.
   4         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
   5 DECREED AS FOLLOWS:
   6         1.    This Court, for purposes of this Preliminary Approval Order, adopts the
   7 definitions set forth in the Stipulation.
   8         2.    This Court preliminarily approves, subject to further consideration at the
   9 Settlement Hearing described below, the Settlement as set forth in the Stipulation as
  10 being fair, reasonable, and adequate.
  11         3.    A hearing shall be held on _______________, 2018 at ____ _.m., before
  12 the Honorable Andrew J. Guilford, at the U.S. District Court for the Central District of
  13 California, Ronald Reagan Federal Building and United States Courthouse, Santa Ana
  14 Division, 411 West 4th Street, Court 10D, Los Angeles, California 92701 (the
  15 "Settlement Hearing"), at which the Court will determine: (i) whether the terms of the
  16 Stipulation should be approved as fair, reasonable, and adequate; (ii) whether the
  17 Notice fully satisfied the requirements of Rule 23.1 of the Federal Rule of Civil
  18 Procedure and the requirements of due process; (iii) whether all Released Claims
  19 against the Released Persons should be fully and finally released; (iv) whether the
  20 agreed-to Fee and Expense Amount should be approved; and (v) such other matters as
  21 the Court may deem appropriate.
  22         4.    The Court finds that the form, substance, and dissemination of
  23 information regarding the proposed Settlement in the manner set out in this
  24 Preliminary Approval Order constitutes the best notice practicable under the
  25 circumstances and complies fully with Rule 23.1 of the Federal Rules of Civil
  26 Procedure and due process.
  27
  28                                             -2-
       [PROPOSED] PRELIMINARY APPROVAL ORDER                                         EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 43
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 41
                                                            41 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:153
                                                                             #:208




   1         5.    Within ten (10) business days after the entry of this Preliminary Approval
   2 Order, Puma shall cause the Stipulation and Notice to be filed with the SEC along
   3 with an SEC Form 8-K or other appropriate filing, Puma shall publish the Summary
   4 Notice one time in the national edition of Investor's Business Daily, and Puma shall
   5 also publish the Stipulation and Notice on an internet page that Puma shall create for
   6 this purpose, which shall be accessible via a link on the "Investors" page of Puma's
   7 website, the address of which shall be contained in the Notice and Summary Notice.
   8         6.    All costs incurred in the filing and publication of the Notice and
   9 Summary Notice shall be paid by Puma, and Puma shall undertake all administrative
  10 responsibility for the filing and publication of the Notice and Summary Notice.
  11         7.    At least fourteen (14) calendar days prior to the Settlement Hearing,
  12 Defendants' Counsel shall file with the Court an appropriate affidavit or declaration
  13 with respect to filing, publishing, and posting the Notice and Summary Notice as
  14 provided for in paragraph 5 of this Preliminary Approval Order.
  15         8.    All Applicable Puma Shareholders shall be subject to and bound by the
  16 provisions of the Stipulation and the releases contained therein, and by all orders,
  17 determinations, and judgments in the van der Gracht de Rommerswael Action
  18 concerning the Settlement, whether favorable or unfavorable to Applicable Puma
  19 Shareholders.
  20         9.    Pending final determination of whether the Settlement should be
  21 approved, Plaintiffs and Applicable Puma Shareholders shall not commence or
  22 prosecute against any of the Released Persons any action or proceeding in any court or
  23 tribunal asserting any of the Released Claims.
  24         10.   Any shareholder of Puma common stock may appear and show cause, if
  25 he, she, or it has any reason why the Settlement embodied in the Stipulation should
  26 not be approved as fair, reasonable, and adequate, or why a judgment should or should
  27 not be entered hereon, or the Fee and Expense Amount or service awards should not
  28                                           -3-
       [PROPOSED] PRELIMINARY APPROVAL ORDER                                       EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                             Page 44
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 42
                                                            42 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:154
                                                                             #:209




   1 be awarded. However, no Puma shareholder shall be heard or entitled to contest the
   2 approval of the proposed Settlement, or, if approved, the Judgment to be entered
   3 hereon, unless that Puma shareholder has caused to be filed, and served on counsel as
   4 noted below, written objections stating all supporting bases and reasons for the
   5 objection, and setting forth proof of current ownership of Puma stock and ownership
   6 of Puma stock as of September 28, 2018 as well as documentary evidence of when
   7 such stock ownership was acquired.
   8         11.   At least fourteen (14) calendar days prior to the Settlement Hearing set
   9 for _____________, 2018, any such person must file the written objection(s) and
  10 corresponding materials with the Clerk of the Court, U.S. District Court for the
  11 Central District of California, Ronald Reagan Federal Building and United States
  12 Courthouse, Santa Ana Division, 411 West 4th Street, Room 1053, Los Angeles,
  13 California 92701 and serve such materials by that date, to each of the following
  14 Settling Parties' counsel:
  15        Counsel for Plaintiffs:               Counsel for Defendants:
  16        Ashley R. Rifkin                      Ryan E. Blair
  17        ROBBINS ARROYO LLP                    COOLEY LLP
            600 B Street, Suite 1900              4401 Eastgate Mall
  18        San Diego, CA 92101                   San Diego, CA 92121

  19        and

  20        Phillip Kim
            THE ROSEN LAW FIRM, P.A.
  21        275 Madison Avenue, 34th Floor
            New York, NY 10016
  22
  23         12.   Only shareholders who have filed with the Court and sent to the Settling
  24 Parties' counsel valid and timely written notices of objection will be entitled to be
  25 heard at the hearing unless the Court orders otherwise.
  26         13.   Any Person or entity who fails to appear or object in the manner provided
  27 herein shall be deemed to have waived such objection and shall forever be foreclosed
  28                                           -4-
       [PROPOSED] PRELIMINARY APPROVAL ORDER                                      EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                            Page 45
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 43
                                                            43 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:155
                                                                             #:210




   1 from making any objection to the fairness, reasonableness, or adequacy of the
   2 Settlement and to the Fee and Expense Amount and service awards, unless otherwise
   3 ordered by the Court, but shall be forever bound by the Judgment to be entered and
   4 the releases to be given as set forth in the Stipulation.
   5         14.   Plaintiffs shall file their motion for final approval of the Settlement at
   6 least twenty-one (21) calendar days prior to the Settlement Hearing. If there is any
   7 objection to the Settlement, Plaintiffs shall file a response to the objection(s) at least
   8 seven (7) calendar days prior to the Settlement Hearing.
   9         15.   All proceedings in the van der Gracht de Rommerswael Action are stayed
  10 until further order of the Court, except as may be necessary to implement the
  11 Settlement or comply with the terms of this Stipulation.
  12         16.   This Court may, for good cause, extend any of the deadlines set forth in
  13 this Preliminary Approval Order without further notice to Puma's shareholders.
  14         17.   Neither the Stipulation nor the Settlement, nor any act performed or
  15 document executed pursuant to or in furtherance of the Stipulation or the Settlement:
  16 (i) is or may be deemed to be or may be offered, attempted to be offered or used in
  17 any way by the Settling Parties or any other Person as a presumption, a concession or
  18 an admission of, or evidence of, any fault, wrongdoing or liability of the Settling
  19 Parties or Released Persons, or of the validity of any Released Claims; or (ii) is
  20 intended by the Settling Parties to be offered or received as evidence or used by any
  21 other person in any other actions or proceedings, whether civil, criminal, or
  22 administrative, other than to enforce the terms therein.
  23         18.   The Court reserves: (i) the right to approve the Settlement, with such
  24 modifications as may be agreed to by counsel for the Settling Parties consistent with
  25 such Settlement, without further notice to Puma shareholders; and (ii) the right to
  26 continue or adjourn the Settlement Hearing from time to time or by oral
  27
  28                                            -5-
       [PROPOSED] PRELIMINARY APPROVAL ORDER                                         EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 46
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 44
                                                            44 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:156
                                                                             #:211




   1 announcement at the hearing or at any adjournment thereof, without further notice to
   2 Puma shareholders.
   3             IT IS SO ORDERED.
   4
   5 DATED:
   6                                           HONORABLE ANDREW J. GUILFORD
                                               U.S. DISTRICT JUDGE
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       [PROPOSED] PRELIMINARY APPROVAL ORDER                                    EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                          Page 47
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 45
                                                            45 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:157
                                                                             #:212




                Exhibit C
                                                                            EXHIBIT 1
                                                                             Page 48
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 46 of 70 Page ID #:213


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 46 of 70 Page ID #:158




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    7
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    8 Gracht de Rommerswael
    9
                              UNITED STATES DISTRICT COURT
   10
   11                       CENTRAL DISTRICT OF CALIFORNIA

   12
      ARNAUD VAN DER GRACHT DE                  Case No. 8:18-cv-00236-AG-JCG
   13 ROMMERSWAEL, Derivatively on
      Behalf of PUMA BIOTECHNOLOGY,
   14 INC.,                                     NOTICE OF PENDENCY AND
                                                PROPOSED SETTLEMENT OF
   15                           Plaintiff,      SHAREHOLDER DERIVATIVE
                                                ACTION
   16         v.
   17 ALAN H. AUERBACH, CHARLES R.              EXHIBIT C
   18 EYLER, JAY M. MOYES, TROY E.
      WILSON, ADRIAN M.
   19 SENDEROWICZ, FRANK E. ZAVRL,
      and THOMAS R. MALLEY,
   20
                            Defendants,
   21
           -and-
   22
      PUMA BIOTECHNOLOGY, INC., a
   23 Delaware corporation,
   24
                      Nominal Defendant.
   25
   26
   27
   28
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                      EXHIBIT 1
                                                                                       Page 49
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 47 of 70 Page ID #:214


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 47 of 70 Page ID #:159




   1 TO: ALL OWNERS OF THE COMMON STOCK OF PUMA
           BIOTECHNOLOGY, INC. ("PUMA" OR THE "COMPANY")
   2       CURRENTLY AND AS OF SEPTEMBER 28, 2018 ("APPLICABLE
           PUMA SHAREHOLDERS"):
   3
           THIS NOTICE RELATES TO THE PENDENCY AND PROPOSED
   4       SETTLEMENT OF SHAREHOLDER DERIVATIVE LITIGATION.
           PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY.
   5       IF YOU ARE A PUMA SHAREHOLDER, THIS NOTICE CONTAINS
           IMPORTANT INFORMATION ABOUT YOUR RIGHTS.
   6
           YOU ARE HEREBY NOTIFIED, pursuant to an Order of the U.S. District
   7
     Court for the Central District of California (the "Court"), that a proposed settlement
   8
     has been reached by the parties to the following shareholder derivative actions brought
   9
     on behalf and for the benefit of Puma: (i) Xie v. Auerbach, Case No. BC616617 (Cal.
  10
     Super. Ct.-L.A. Cty.); (ii) McKenney v. Auerbach, Case No. BC617059 (Cal. Super.
  11
     Ct.-L.A. Cty.) (together the "State Actions"); (iii) van der Gracht de Rommerswael v.
  12
     Auerbach, Case No. 8:18-cv-00236-AG-JCG (C.D. Cal.); and (iv) Duran v. Auerbach,
  13
     Case No. 2:18-cv-04802-AG-DFM (C.D. Cal.) ("Duran Action") (collectively, the
  14
     "Actions").1
  15
           As explained below, A hearing will be held on _______________, 2018 at ____
  16
     _.m., before the Honorable Andrew J. Guilford, at the U.S. District Court for the
  17
     Central District of California, Ronald Reagan Federal Building and United States
  18
     Courthouse, Santa Ana Division, 411 West 4th Street, Court 10D, Los Angeles,
  19
     California 92701 (the "Settlement Hearing"), at which the Court will determine
  20
     whether to approve the Settlement. You have an opportunity to be heard at this
  21
     hearing.
  22
           The terms of the settlement are set forth in the Stipulation and summarized in
  23
     this Notice. If approved by the Court, the Settlement will fully resolve the Actions,
  24
  25
       1
  26   All capitalized terms herein have the same meanings as set forth Settling Parties'
     Stipulation of Settlement dated September 28, 2018 (the "Stipulation"), which is
  27 available for viewing on the website of Puma at www._____________.com.
  28                                          -1-
       NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
       CASE NO. SACV 18-00236 AG (JCGx)


                                                                                          EXHIBIT 1
                                                                                           Page 50
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 48 of 70 Page ID #:215


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 48 of 70 Page ID #:160




    1 including the dismissal of the Actions with prejudice. For a more detailed statement
    2 of the matters involved in the Actions, the Settlement, and the terms discussed in this
    3 Notice, the Stipulation may be inspected at the Clerk of Court's office, U.S. District
    4 Court for the Central District of California, Ronald Reagan Federal Building and
    5 United States Courthouse, Santa Ana Division, 411 West 4th Street, Room 1053, Los
    6 Angeles, California 92701. The Stipulation is also available for viewing on the
    7 website of Puma at www._____________.com. For a fee, all papers filed in the van
    8 der Gracht de Rommerwael Action are available at www.pacer.gov.
    9         This Notice is not intended to be an expression of any opinion by the Court with
   10 respect to the merits of the claims made in the Actions, but is merely to advise you of the
   11 pendency and settlement of the Actions.
   12         THERE IS NO CLAIMS PROCEDURE. This case was brought to protect the
   13 interests of Puma. The Settlement will result in changes to the Company's corporate
   14 governance, not in payment to individuals, and accordingly, there will be no claims
   15 procedure.
   16 I.      THE ACTIONS
   17         The Actions are brought by Plaintiffs solely on behalf of and for the benefit of
   18 Puma and against the Individual Defendants. Puma is a biopharmaceutical company
   19 that has focused its efforts almost entirely on developing and marketing the drug,
   20 NERLYNXTM ("neratinib"), a drug designed to treat patients with human epidermal
   21 growth factor receptor 2-positive breast cancers. The derivative claims arise from the
   22 Individual Defendants' alleged breaches of fiduciary duties for making and/or
   23 approving allegedly false and misleading statements regarding neratinib's safety and
   24 efficacy (and corresponding likelihood to receive approval from the U.S. Food and
   25 Drug Administration ("FDA")).
   26
   27
   28                                            -2-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                               EXHIBIT 1
                                                                                                Page 51
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 49 of 70 Page ID #:216


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 49 of 70 Page ID #:161




    1 II.     PLAINTIFFS' CLAIMS AND THE BENEFITS OF SETTLEMENT
    2         Plaintiffs believe that the Actions have substantial merit, and Plaintiffs' entry
    3 into the Stipulation and Settlement is not intended to be and shall not be construed as
    4 an admission or concession concerning the relative strength or merit of the claims
    5 alleged in the Actions. However, Plaintiffs and Plaintiffs' Counsel recognize and
    6 acknowledge the significant risk, expense, and length of continued proceedings
    7 necessary to prosecute the Actions against the Individual Defendants through trial and
    8 through possible appeals.       Plaintiffs' Counsel also have taken into account the
    9 uncertain outcome and the risk of any litigation, especially in complex cases such as
   10 the Actions, as well as the difficulties and delays inherent in such litigation. Plaintiffs'
   11 Counsel are also mindful of the inherent problems of establishing standing in
   12 derivative litigation, and the possible defenses to the claims alleged in the Actions.
   13         Plaintiffs' Counsel have conducted extensive investigation and analysis,
   14 including, inter alia: (i) reviewing Puma's press releases, public statements, U.S.
   15 Securities and Exchange Commission ("SEC") filings, and securities analysts' reports
   16 and advisories about the Company, its financial condition, and the status and results of
   17 Puma's research and development efforts relating to its drug, neratinib; (ii) reviewing
   18 related media reports about the Company; (iii) researching applicable law with respect
   19 to the claims alleged in the Actions and potential defenses thereto; (iv) researching
   20 and preparing correspondence related to plaintiff van der Gracht de Rommerswael's
   21 litigation demand; (v) preparing and filing derivative complaints; (vi) reviewing
   22 documents produced to plaintiffs in the State Actions pursuant to the stipulation to
   23 stay that was granted by the Superior Court; (vii) conducting damages analyses;
   24 (viii) reviewing and analyzing relevant documents in the Securities Action—including
   25 the motion to dismiss briefing and the Court's order denying the defendants' motion to
   26 dismiss—and evaluating the merits of, and the defendants' potential liability in
   27 connection with, the Securities Action; (ix) researching corporate governance best
   28                                             -3-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                                EXHIBIT 1
                                                                                                 Page 52
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 50 of 70 Page ID #:217


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 50 of 70 Page ID #:162




    1 practices; (x) researching and preparing correspondence related to the settlement
    2 demands; (xi) participating in a day-long mediation and several follow-up discussions;
    3 and (xii) negotiating this Settlement with Defendants. Based on Plaintiffs' Counsel's
    4 thorough review and analysis of the relevant facts, allegations, defenses, and
    5 controlling legal principles, Plaintiffs' Counsel believe that the Settlement set forth in
    6 the Stipulation is fair, reasonable, and adequate, and confers substantial benefits upon
    7 Puma. Based upon Plaintiffs' Counsel's evaluation, Plaintiffs have determined that the
    8 Settlement is in the best interests of Puma and have agreed to settle the Actions upon
    9 the terms and subject to the conditions set forth herein.
   10 III.    DEFENDANTS' DENIALS OF WRONGDOING AND LIABILITY
   11         Defendants have denied and continue to deny each and all of the claims and
   12 contentions alleged by Plaintiffs in the Actions. The Individual Defendants have
   13 expressly denied and continue to deny all charges of wrongdoing or liability against
   14 them arising out of any of the conduct, statements, acts, or omissions alleged, or that
   15 could have been alleged in the Actions.
   16         Nonetheless, Defendants have concluded that further litigation of the Actions
   17 would be protracted and expensive, and that it is desirable for the Actions to be fully
   18 and finally settled in the matter and upon the terms and conditions set forth in the
   19 Stipulation.    Defendants have also taken into account the uncertainty and risks
   20 inherent in any litigation, especially in complex cases like the Actions. Defendants
   21 have, therefore, determined that it is desirable and beneficial that the actions be settled
   22 in the manner and upon the terms and conditions set forth in the Stipulation.
   23         Neither the Stipulation, nor any of its terms or provisions, nor entry of the
   24 Judgment, nor any document or exhibit referred or attached to the Stipulation, nor any
   25 action taken to carry out the Stipulation, is, may be construed as, or may be used as
   26 evidence of the validity of any of the Released Claims or an admission by or against
   27
   28                                            -4-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                               EXHIBIT 1
                                                                                                Page 53
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 51 of 70 Page ID #:218


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 51 of 70 Page ID #:163




    1 the Individual Defendants of any fault, wrongdoing, or concession of liability
    2 whatsoever.
    3 IV.      TERMS OF THE SETTLEMENT
    4          The terms and conditions of the proposed Settlement are set forth in the
    5 Stipulation, which has been filed with the Court and is available for viewing on
    6 Puma's website at www.____________.com. The following is only a summary of its
    7 terms.
    8          Puma, acting through its independent, non-defendant directors, reviewed the
    9 allegations and the settlement terms, and in a good faith exercise of business judgment
   10 determined that the Settlement and each of its terms, as set forth in the Stipulation, to
   11 be in the best interests of Puma.
   12          As consideration for the Settlement, Puma has agreed to implement and
   13 maintain the corporate governance reforms set forth in Exhibit A to the Stipulation
   14 ("Reforms"). The Reforms shall be maintained by Puma for a period of not less than
   15 five (5) years. Puma and the Individual Defendants acknowledge that the prosecution
   16 and settlement of the Actions was a substantial and material factor in the Company's
   17 decision to adopt and/or implement the Reforms, and agree that the Reforms are
   18 significant and extensive and confer substantial benefits upon Puma and its
   19 shareholders.
   20          The Reforms are specifically designed to address the alleged wrongdoing by
   21 increasing direct Board and executive oversight over the Company's public
   22 disclosures and disclosure controls, and improving the overall independence,
   23 competence, and effectiveness of the Board. The Reforms provide for, among other
   24 things:
   25               The appointment of one new Independent Director, which brings the
   26 Board to seven members, as well as procedures for identifying the new Independent
   27 Director;
   28                                           -5-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                             EXHIBIT 1
                                                                                              Page 54
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 52 of 70 Page ID #:219


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 52 of 70 Page ID #:164




    1              Stockholder input for the new Independent Director and future director
    2 nominees, as well as a requirement that the Nominating and Governance Committee
    3 consider such nominees and include their deliberations with respect to director
    4 nominees in the minutes of their proceedings;
    5              Enhanced board independence requiring two-thirds of the members of the
    6 Board (as opposed to the current majority) satisfy a list of heightened independence
    7 requirements beyond those set forth in the NASDAQ listing standards and the
    8 Sarbanes-Oxley Act;
    9              Formal continuing education program for directors that requires both an
   10 annual presentation focused on a topic of particular importance to the Company, as
   11 well as a multi-day training course every three years;
   12              Requirement that nonemployee directors own at least 10,000 shares of
   13 Puma common stock;
   14              Management's involvement, together with the Audit Committee, in
   15 assessing the adequacy of the Company's internal controls over financial reporting and
   16 disclosure controls and procedures, including reporting requirements in the
   17 Company's Form 10-K regarding any material weaknesses;
   18              Requirement that the Chief Financial Officer ("CFO") certify to the Audit
   19 Committee at least annually that CFO and/or the Company's outside auditor has
   20 performed a risk assessment pertaining to financial reporting risks and promptly
   21 addressed potentially unlawful activities;
   22              Creation of a Board-level Research and Development Committee ("R&D
   23 Committee"), requirements that certain members of the R&D Committee have
   24 scientific and/or medical expertise and an overlapping position on the Audit
   25 Committee, and required responsibilities of the R&D Committee, which include
   26 overseeing the Company's product pipeline and research and development efforts,
   27 including oversight and evaluation of the Company's clinical trials and clinical
   28                                          -6-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                           EXHIBIT 1
                                                                                            Page 55
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 53 of 70 Page ID #:220


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 53 of 70 Page ID #:165




    1 development risk, as well as reviewing and pre-approving all material public
    2 disclosures related to the Company's product pipeline and research and development
    3 efforts. The Research and Development Committee shall also have quarterly meetings
    4 with the Chief Medical and Scientific Officer and provide quarterly presentations to
    5 the entire Board;
    6              Requirement that the Compensation Committee consider officers'
    7 performance as it relates to legal compliance and compliance with the Company’s
    8 internal policies and procedures in determining the compensation and termination
    9 benefits of officers;
   10              Requirement that the Audit Committee inform the full Board of any
   11 material suspected errors in the Company's independent audits or books and records,
   12 and timely inform the full Board if the Company appears to have insufficient liquidity;
   13              Stockholders' ability to call special meetings of the Board;
   14              Heightened requirements for approval and disclosure of related party
   15 transactions; and
   16              Enhanced requirements relating to the Company's whistleblower hotline,
   17 including documentation of complaints and/or investigations, external auditor review,
   18 and escalation to the Board.
   19         This Notice provides a summary of some, but not all, of the Reforms that Puma
   20 has agreed to adopt as consideration for the Settlement. For a list of all of the
   21 Reforms, please see Exhibit A to the Stipulation, which is available for viewing from
   22 the Court or on Puma's website at www.____________.com.
   23 V.      DISMISSAL AND RELEASES
   24         The Settlement is conditioned upon the occurrence of certain events, which
   25 include, among other things: (i) final approval of the Settlement by the Court
   26 following notice to Applicable Puma Shareholders and the Settlement Hearing
   27 contemplated by the Stipulation; (ii) Court entry of the Judgment, approving the
   28                                           -7-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                           EXHIBIT 1
                                                                                            Page 56
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 54 of 70 Page ID #:221


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 54 of 70 Page ID #:166




    1 Settlement and dismissing with prejudice the van der Gracht de Rommerswael Action,
    2 without awarding costs to any Party, except as provided herein; (iii) State Court
    3 issuance of an order dismissing the State Actions with prejudice; and (iv) Court
    4 issuance of an order dismissing the Duran Action with prejudice (the "Effective
    5 Date").
    6         Upon the Effective Date, the Releasing Persons shall be deemed to have fully,
    7 finally, and forever released, relinquished, and discharged the Released Claims
    8 (including Unknown Claims) against the Released Persons and any and all derivative
    9 claims arising out of, relating to, or in connection with the defense, settlement, or
  10 resolution of the Federal Actions and the State Actions against the Released Persons.
  11 Nothing herein shall in any way impair or restrict the rights of any Settling Party to
  12 enforce the terms of the Stipulation.
  13          Except as set forth in paragraph 5.3 of the Stipulation, upon the Effective Date,
  14 each of the Defendants shall be deemed to have fully, finally, and forever released,
  15 relinquished, and discharged Federal Plaintiffs, Federal Plaintiffs' Counsel, State
  16 Plaintiffs, and State Plaintiffs' Counsel from all claims (including claims related to
  17 Unknown Claims), arising out of, relating to, or in connection with the institution,
  18 prosecution, assertion, settlement, or resolution of the Federal Actions, the State
  19 Actions, or the Released Claims. Nothing herein shall in any way impair or restrict
  20 the rights of any Settling Party to enforce the terms of the Stipulation.
  21 VI.      PLAINTIFFS' ATTORNEYS' FEES AND EXPENSES
  22          After negotiating the substantive terms of the settlement, the Settling Parties
  23 discussed a fair and reasonable sum to be paid to Plaintiffs' Counsel for their
  24 attorneys' fees and expenses. The Settling Parties engaged in an all-day, in-person
  25 formal mediation before Gregory P. Lindstrom and ultimately accepted his mediator's
  26 proposal as to the amount of attorneys' fees and expenses to be paid to Plaintiffs'
  27 Counsel. In recognition of the substantial benefits conferred upon Puma as a direct
  28                                            -8-
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                             EXHIBIT 1
                                                                                              Page 57
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 55 of 70 Page ID #:222


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 55 of 70 Page ID #:167




    1 result of the prosecution and Settlement of the Actions, and subject to Court approval,
    2 the Individual Defendants shall cause their insurers to pay Plaintiffs' Counsel the
    3 agreed-to amount of $1,175,000 (the "Fee and Expense Amount"). To date, Plaintiffs'
    4 Counsel have neither received any payment for their services in conducting the
    5 Actions, nor have counsel been reimbursed for their out-of-pocket expenses incurred.
    6 The Settling Parties believe that the sum agreed to is within the range of attorneys'
    7 fees and expenses approved by courts under similar circumstances in litigation of this
    8 type. Puma's shareholders are not personally liable for the payment of any award of
    9 attorneys' fees and expenses.
  10         Plaintiffs' Counsel may apply to the Court for service awards of up to $1,500
  11 for each of the Plaintiffs, only to be paid upon Court approval, and to be paid from the
  12 Fee and Expense Amount in recognition of Plaintiffs' participation and effort in the
  13 prosecution of the Actions. Neither Puma nor any of the Individual Defendants shall
  14 be liable for any portion of any service awards.
  15 VII. THE SETTLEMENT HEARING
  16         The Settlement Hearing will be held before the Honorable Andrew J. Guilford,
  17 at the U.S. District Court for the Central District of California, Ronald Reagan Federal
  18 Building and United States Courthouse, Santa Ana Division, 411 West 4th Street,
  19 Court 10D, Los Angeles, California 92701 (the "Settlement Hearing"), at which the
  20 Court will determine: (i) whether the terms of the Stipulation should be approved as
  21 fair, reasonable, and adequate; (ii) whether the Notice fully satisfied the requirements
  22 of Rule 23.1 of the Federal Rule of Civil Procedure and the requirements of due
  23 process; (iii) whether all Released Claims against the Released Persons should be
  24 fully and finally released; (iv) whether the agreed-to Fee and Expense Amount should
  25 be approved; and (v) such other matters as the Court may deem appropriate. The
  26 Settlement Hearing may be continued by the Court at the Settlement Hearing, or at
  27 any adjourned session thereof without further notice.
  28                                           -9-
       NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
       CASE NO. SACV 18-00236 AG (JCGx)


                                                                                           EXHIBIT 1
                                                                                            Page 58
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 56 of 70 Page ID #:223


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 56 of 70 Page ID #:168




    1 VIII. THE RIGHT TO OBJECT AND/OR BE HEARD AT THE HEARING
    2         Any Applicable Puma Shareholder may object and/or appear and show cause, if
    3 he, she, or it has any concern, why the Settlement should not be approved as fair,
    4 reasonable, and adequate, or why the Judgment should not be entered thereon, or why
    5 the amount of attorneys' fees and reimbursement of expenses should not be approved.
    6 However, unless otherwise ordered by the Court, you shall only be heard or entitled to
    7 contest the approval of the terms and conditions of the Settlement, or, if approved, the
    8 Judgment to be entered thereon approving the same, or the amount of attorneys' fees
    9 and reimbursement of expenses to Plaintiffs' Counsel, unless you have, at least
  10 fourteen (14) calendar days prior to the Settlement Hearing, filed with the Court a
  11 written notice of objection containing the following information:
  12          1.    Your name, legal address, and telephone number;
  13          2.    The case name and number (van der Gracht de Rommerswael v.
  14 Auerbach, No. 8:18-cv-00236-AG-JCG);
  15          3.    Proof of being a Puma shareholder currently and as of September 28,
  16 2018;
  17          4.    The date(s) you acquired your Puma shares;
  18          5.    A statement of each of each objection being made;
  19          6.    Notice of whether you intend to appear at the Settlement Hearing (you
  20 are not required to appear); and
  21          7.    Copies of any papers you intend to submit to the Court, along with the
  22 names of any witness(es) you intend to call to testify at the Settlement Hearing and the
  23 subject(s) of their testimony.
  24          If you wish to object to the proposed Settlement, you must file the written
  25 objection described above with the Court on or before ______, 2018. All written
  26 objections and supporting papers must be filed with the Clerk of the Court, U.S.
  27 District Court for the Central District of California, Ronald Reagan Federal Building
  28                                           - 10 -
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                            EXHIBIT 1
                                                                                             Page 59
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 57 of 70 Page ID #:224


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 57 of 70 Page ID #:169




    1 and United States Courthouse, Santa Ana Division, 411 West 4th Street, Room 1053,
    2 Los Angeles, California 92701and serve such materials by that date, to each of the
    3 following Settling Parties' counsel:
    4        Counsel for Plaintiffs:                  Counsel for Defendants:
    5        Ashley R. Rifkin                         Ryan E. Blair
    6        ROBBINS ARROYO LLP                       COOLEY LLP
             600 B Street, Suite 1900                 4401 Eastgate Mall
    7        San Diego, CA 92101                      San Diego, CA 92121

    8        and

    9        Phillip Kim
             THE ROSEN LAW FIRM, P.A.
  10         275 Madison Avenue, 34th Floor
             New York, NY 10016
  11
  12          YOUR WRITTEN OBJECTIONS MUST BE POSTMARKED OR ON FILE
  13 WITH THE CLERK OF THE COURT NO LATER THAN ____________, 2018.
  14 Only shareholders who have filed and delivered valid and timely written notices of
  15 objection will be entitled to be heard at the Settlement Hearing unless the Court orders
  16 otherwise.
  17          Unless otherwise ordered by the Court, any Applicable Puma Shareholder who
  18 does not make his, her, or its objection in the manner provided herein shall be deemed
  19 to have waived such objection and shall forever be barred and foreclosed from making
  20 any objection to the fairness, reasonableness, or adequacy of the Settlement, or to
  21 otherwise be heard, and shall otherwise be bound by the Judgment to be entered and
  22 the releases to be given.
  23 IX.      EXAMINATION OF PAPERS AND INQUIRIES
  24          There is additional information concerning the Settlement available in the
  25 Stipulation,    which    is   available   for    viewing   on   the   website   Puma   at
  26 www.____________.com.             You may also inspect the Stipulation during business
  27 hours at the office of the Clerk of the Court, U.S. District Court for the Central
  28                                             - 11 -
        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                            EXHIBIT 1
                                                                                             Page 60
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 58 of 70 Page ID #:225


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 58 of 70 Page ID #:170




    1 District of California, Ronald Reagan Federal Building and United States Courthouse,
    2 Santa Ana Division, 411 West 4th Street, Room 1053, Los Angeles, California 92701.
    3 Or you can call Robbins Arroyo LLP, 600 B Street, Suite 1900, San Diego, California
    4 92101, telephone: (619) 525-3990 or The Rosen Law Firm, P.A., 275 Madison
    5 Avenue, 34th Floor, New York, New York 10016, telephone: (212) 686-1060, for
    6 additional information concerning the settlement.
    7
                    PLEASE DO NOT CONTACT THE COURT OR PUMA
    8                        REGARDING THIS NOTICE.
    9
  10 DATED:
  11                                  BY ORDER OF THE COURT UNITED STATES
                                      DISTRICT COURT OF THE CENTRAL DISTRICT
  12                                  OF CALIFORNIA
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        NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF SHAREHOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                        EXHIBIT 1
                                                                                         Page 61
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 59
                                                            59 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:171
                                                                             #:226




                Exhibit D
                                                                            EXHIBIT 1
                                                                             Page 62
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 60 of 70 Page ID #:227


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 60 of 70 Page ID #:172




    1 ROBBINS ARROYO LLP
      BRIAN J. ROBBINS (190264)
    2 brobbins@robbinsarroyo.com
    3 KEVIN A SEELY (199982)
      kseely@robbinsarroyo.com
    4 ASHLEY R. RIFKIN (246602)
      arifkin@robbinsarroyo.com
    5 600 B Street, Suite 1900
      San Diego, CA 92101
    6 Telephone: (619) 525-3990
      Facsimile: (619) 525-3991
    7
      Counsel for Plaintiff Arnaud van der
    8 Gracht de Rommerswael
    9
                              UNITED STATES DISTRICT COURT
   10
   11                       CENTRAL DISTRICT OF CALIFORNIA

   12
      ARNAUD VAN DER GRACHT DE                   Case No. 8:18-cv-00236-AG-JCG
   13 ROMMERSWAEL, Derivatively on
      Behalf of PUMA BIOTECHNOLOGY,
   14 INC.,                                      SUMMARY NOTICE OF
                                                 PENDENCY AND PROPOSED
   15                           Plaintiff,       SETTLEMENT OF SHAREHOLDER
                                                 DERIVATIVE ACTION
   16         v.
   17 ALAN H. AUERBACH, CHARLES R.               EXHIBIT D
   18 EYLER, JAY M. MOYES, TROY E.
      WILSON, ADRIAN M.
   19 SENDEROWICZ, FRANK E. ZAVRL,
      and THOMAS R. MALLEY,
   20
                            Defendants,
   21
           -and-
   22
      PUMA BIOTECHNOLOGY, INC., a
   23 Delaware corporation,
   24
                      Nominal Defendant.
   25
   26
   27
   28
        SUMMARY NOTICE OF PENDENCY & PROPOSED SETTLEMENT OF S'HOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                         EXHIBIT 1
                                                                                          Page 63
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 61 of 70 Page ID #:228


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 61 of 70 Page ID #:173




    1 TO: ALL OWNERS OF THE COMMON STOCK OF PUMA
          BIOTECHNOLOGY, INC. ("PUMA" OR THE "COMPANY")
    2     CURRENTLY AND AS OF SEPTEMBER 28, 2018:
    3            IF YOU ARE A RECORD OR BENEFICIAL OWNER AND WERE A
    4 RECORD OR BENEFICIAL OWNER OF PUMA COMMON STOCK AS OF
    5 SEPTEMBER 28, 2018, PLEASE READ THIS NOTICE CAREFULLY AND IN ITS
    6 ENTIRETY AS YOUR RIGHTS MAY BE AFFECTED BY PROCEEDINGS IN
    7 THE ABOVE-REFERENCED LITIGATION.
    8            PLEASE TAKE NOTICE that the parties to the above-captioned shareholder
    9 derivative action, as well as the parties to the shareholder derivative actions titled, Xie
   10 v. Auerbach, Case No. BC616617 (Cal. Super. Ct.-L.A. Cty.), McKenney v. Auerbach,
   11 Case No. BC617059 (Cal. Super. Ct.-L.A. Cty.), and Duran v. Auerbach, Case No.
   12 2:18-cv-04802-AG-DFM (C.D. Cal.) (collectively, the "Actions"), have reached an
   13 agreement to settle the derivative claims brought on behalf of and for the benefit of
   14 Puma.
   15            The terms of the settlement are set forth in a Stipulation of Settlement dated
   16 September 28, 2018 (the "Stipulation").1 This notice should be read in conjunction
   17 with, and is qualified in its entirety by reference to, the text of the Stipulation, which
   18 has been filed with the U.S. District Court for the Central District of California. A
   19 link to the text of the Stipulation and the full-length Notice of Pendency and Proposed
   20 Settlement of Shareholder Derivative Action may be found on the Investor Relations
   21 page of Puma's website at www._______________.com.
   22            Under the terms of the Stipulation, as a part of the proposed Settlement, Puma
   23 will adopt and/or implement corporate governance reforms, which all parties agree
   24 confer substantial benefits upon Puma. The independent, non-defendant directors on
   25
   26
   27   1
            All capitalized terms herein have the same meanings as set forth in the Stipulation.
   28                                              -1-
        SUMMARY NOTICE OF PENDENCY & PROPOSED SETTLEMENT OF S'HOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                                   EXHIBIT 1
                                                                                                    Page 64
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 62 of 70 Page ID #:229


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 62 of 70 Page ID #:174




    1 Puma’s Board, in exercising their business judgment, approved the proposed
    2 Settlement, and its terms, as in the best interests of Puma and its shareholders.
    3         In light of the substantial benefits conferred upon Puma by Plaintiffs' Counsel's
    4 efforts, the Company's insurers shall pay Plaintiffs' Counsel's attorney's fees, costs,
    5 and expenses of $1,175,000, subject to Court approval.
    6         A hearing will be held on _______________, 2018 at ____ _.m., before the
    7 Honorable Andrew J. Guilford, at the U.S. District Court for the Central District of
    8 California, Ronald Reagan Federal Building and United States Courthouse, Santa Ana
    9 Division, 411 West 4th Street, Court 10D, Los Angeles, California 92701 (the
   10 "Settlement Hearing"), at which the Court will determine whether to approve the
   11 settlement.
   12         Any Puma shareholder has a right, but is not required, to appear and to be heard
   13 at the Settlement Hearing, providing that he, she, or it is a shareholder of record or
   14 beneficial owner of Puma common stock and was a shareholder of record or beneficial
   15 owner of Puma common stock as of September 28, 2018. Any Puma shareholder who
   16 satisfies this requirement may enter an appearance through counsel of such
   17 shareholder's own choosing and at such shareholder's own expense, or may appear on
   18 their own. However, you shall not be heard at the Settlement Hearing unless, no later
   19 than _____, 2018, you have filed with the Court a written notice of objection
   20 containing the following information:
   21         1.    Your name, legal address, and telephone number;
   22         2.    The case name and number (van der Gracht de Rommerswael v.
   23 Auerbach, No. 8:18-cv-00236-AG-JCG);
   24         3.    Proof of being a Puma shareholder currently and as of September 28,
   25 2018;
   26         4.    The date(s) you acquired your Puma shares;
   27         5.    A statement of each of each objection being made;
   28                                            -2-
        SUMMARY NOTICE OF PENDENCY & PROPOSED SETTLEMENT OF S'HOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                             EXHIBIT 1
                                                                                              Page 65
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 63 of 70 Page ID #:230


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 63 of 70 Page ID #:175




    1         6.    Notice of whether you intend to appear at the Settlement Hearing (you
    2 are not required to appear); and
    3         7.    Copies of any papers you intend to submit to the Court, along with the
    4 names of any witness(es) you intend to call to testify at the Settlement Hearing and the
    5 subject(s) of their testimony.
    6         If you wish to object to the proposed Settlement, you must file the written
    7 objection described above with the Court on or before ______, 2018. All written
    8 objections and supporting papers must be filed with the Clerk of the Court, U.S.
    9 District Court for the Central District of California, Ronald Reagan Federal Building
  10 and United States Courthouse, Santa Ana Division, 411 West 4th Street, Room 1053,
  11 Los Angeles, California 92701 and served upon each of the following Settling Parties'
  12 counsel:
  13         Counsel for Plaintiffs:               Counsel for Defendants:
  14         Ashley R. Rifkin                      Ryan E. Blair
  15         ROBBINS ARROYO LLP                    COOLEY LLP
             600 B Street, Suite 1900              4401 Eastgate Mall
  16         San Diego, CA 92101                   San Diego, CA 92121

  17         and

  18         Phillip Kim
             THE ROSEN LAW FIRM, P.A.
  19         275 Madison Avenue, 34th Floor
             New York, NY 10016
  20
  21          YOUR WRITTEN OBJECTIONS MUST BE POSTMARKED OR ON FILE
  22 WITH THE CLERK OF THE COURT NO LATER THAN ____________, 2018.
  23 Only shareholders who have filed and delivered valid and timely written notices of
  24 objection will be entitled to be heard at the Settlement Hearing unless the Court orders
  25 otherwise. If you fail to object in the manner and within the time prescribed above
  26 you shall be deemed to have waived your right to object (including the right to appeal)
  27
  28                                            -3-
        SUMMARY NOTICE OF PENDENCY & PROPOSED SETTLEMENT OF S'HOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                            EXHIBIT 1
                                                                                             Page 66
Case 2:18-cv-04802-AG-DFM Document 18-1 Filed 02/28/19 Page 64 of 70 Page ID #:231


 Case 8:18-cv-00236-AG-JCG Document 17-1 Filed 09/28/18 Page 64 of 70 Page ID #:176




    1 and shall forever be barred, in this proceeding or in any other proceeding, from raising
    2 such objection(s).
    3             Inquiries may be made to Plaintiffs' Counsel: Robbins Arroyo LLP, 600 B
    4 Street, Suite 1900, San Diego, CA 92101, telephone: (619) 525-3990; and The Rosen
    5 Law Firm, P.A., 275 Madison Avenue, 34th Floor, New York, NY 10016, telephone:
    6 (212) 686-1060.
    7                  PLEASE DO NOT CONTACT THE COURT OR PUMA
                                REGARDING THIS NOTICE
    8
    9
   10 DATED:
   11                                   BY ORDER OF THE COURT UNITED STATES
                                        DISTRICT COURT OF THE CENTRAL DISTRICT
   12                                   OF CALIFORNIA
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        SUMMARY NOTICE OF PENDENCY & PROPOSED SETTLEMENT OF S'HOLDER DERIVATIVE ACTION
        CASE NO. SACV 18-00236 AG (JCGx)


                                                                                            EXHIBIT 1
                                                                                             Page 67
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 65
                                                            65 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:177
                                                                             #:232




                 Exhibit E
                                                                            EXHIBIT 1
                                                                             Page 68
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 66
                                                            66 of
                                                               of 70
                                                                  70 Page
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   8                         UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11 ARNAUD VAN DER GRACHT DE                Case No. 8:18-cv-00236-AG-JCG
     ROMMERSWAEL, Derivatively on
  12 Behalf of PUMA BIOTECHNOLOGY,
     INC.,                                   [PROPOSED] ORDER AND FINAL
  13                                         JUDGMENT
  14                     Plaintiff,

  15         v.                              EXHIBIT E

  16 ALAN H. AUERBACH, CHARLES R.
     EYLER, JAY M. MOYES, TROY E.
  17 WILSON, ADRIAN M.
     SENDEROWICZ, FRANK E. ZAVRL,
  18 and THOMAS R. MALLEY,
  19                           Defendants,
  20         -and-
  21
     PUMA BIOTECHNOLOGY, INC., a
  22 Delaware corporation,
  23                   Nominal Defendant.
  24
  25
  26
  27
  28
       [PROPOSED] ORDER AND FINAL JUDGMENT                                  EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                      Page 69
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 67
                                                            67 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:179
                                                                             #:234




   1         This matter came before the Court for hearing on ____________, 2018, to
   2 consider approval of the proposed settlement ("Settlement") set forth in the Stipulation
   3 of Settlement dated September 28, 2018, and the exhibits thereto (the "Stipulation").
   4 The Court has reviewed and considered all documents, evidence, objections (if any),
   5 and arguments presented in support of or against the Settlement.             Good cause
   6 appearing therefore, the Court enters this Judgment.
   7         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
   8         1.    This Judgment incorporates by reference the definitions in the
   9 Stipulation, and all capitalized terms used herein shall have the same meanings as set
  10 forth in the Stipulation.
  11         2.    This Court has jurisdiction over the subject matter of the van der Gracht
  12 de Rommerswael Action, including all matters necessary to effectuate the Settlement,
  13 and over all Settling Parties to the van der Gracht de Rommerswael Action.
  14         3.    The Court finds that the Notice provided to Puma shareholders
  15 constituted the best notice practicable under the circumstances. The Notice fully
  16 satisfied the requirements of Rule 23.1 of the Federal Rules of Civil Procedure and the
  17 requirements of due process.
  18         4.    The Court finds that the Settlement as set forth in the Stipulation is fair,
  19 reasonable, adequate, and in the best interests of Puma and its shareholders.
  20         5.    The van der Gracht de Rommerswael Action and all claims contained
  21 therein, as well as all of the Released Claims against Released Persons, are dismissed
  22 with prejudice. The Settling Parties are to bear their own costs, except as otherwise
  23 provided in the Stipulation.
  24         6.    Upon the Effective Date, the Releasing Persons shall be deemed to have
  25 fully, finally, and forever released, relinquished, and discharged the Released Claims
  26 (including Unknown Claims) against the Released Persons and any and all derivative
  27 claims arising out of, relating to, or in connection with the defense, settlement, or
  28                                           -1-
       [PROPOSED] ORDER AND FINAL JUDGMENT                                           EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                               Page 70
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 68
                                                            68 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:180
                                                                             #:235




   1 resolution of the Federal Actions and the State Actions against the Released Persons.
   2 Nothing herein shall in any way impair or restrict the rights of any Settling Party to
   3 enforce the terms of the Stipulation.
   4         7.    Except as set forth in paragraph 5.3 in the Stipulation, upon the Effective
   5 Date, each of the Defendants shall be deemed to have fully, finally, and forever
   6 released, relinquished, and discharged Federal Plaintiffs, Federal Plaintiffs' Counsel,
   7 State Plaintiffs, and State Plaintiffs' Counsel from all claims (including claims related
   8 to Unknown Claims), arising out of, relating to, or in connection with the institution,
   9 prosecution, assertion, settlement, or resolution of the Federal Actions, the State
  10 Actions, or the Released Claims. Nothing herein shall in any way impair or restrict
  11 the rights of any Settling Party to enforce the terms of the Stipulation.
  12         8.    During the course of the litigation, all parties and their respective counsel
  13 at all times complied with the requirements of Rule 11 of the Federal Rules of Civil
  14 Procedure, and all other similar laws or statutes, including Section 128.7 of the
  15 California Code of Civil Procedure.
  16         9.    The Court hereby approves the sum of $1,175,000 for the payment of
  17 Plaintiffs' Counsel's attorneys' fees and expenses in the Actions ("Fee and Expense
  18 Amount"), and finds that the Fee and Expense Amount is fair and reasonable. No
  19 other fees, costs, or expenses may be awarded to Plaintiffs' Counsel in connection
  20 with the Settlement. The Fee and Expense Amount shall be distributed in accordance
  21 with the terms of the Stipulation.
  22         10.   The Court hereby approves the service awards of $1,500 for each of the
  23 Plaintiffs to be paid from Plaintiffs' Counsel's Fee and Expense Amount in recognition
  24 of Plaintiffs' participation and effort in the prosecution of the Actions.
  25         11.   Neither the Stipulation nor the Settlement, nor any act performed or
  26 document executed pursuant to or in furtherance of the Stipulation or the Settlement:
  27 (a) is or may be deemed to be or may be offered, attempted to be offered, or used in
  28                                            -2-
       [PROPOSED] ORDER AND FINAL JUDGMENT                                            EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 71
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 69
                                                            69 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:181
                                                                             #:236




   1 any way by the Settling Parties or any other Person as a presumption, a concession, or
   2 an admission of, or evidence of, any fault, wrongdoing, or liability of the Settling
   3 Parties or Released Persons, or of the validity of any Released Claims; or (b) is
   4 intended by the Settling Parties to be offered or received as evidence or used by any
   5 other person in any other actions or proceedings, whether civil, criminal, or
   6 administrative, other than to enforce the terms therein.
   7         12.   The Released Persons may file the Stipulation and/or the Judgment, and
   8 file or reference acts performed or documents executed pursuant to or in furtherance
   9 of the Stipulation and/or the Judgment: (i) in any action that may be brought against
  10 them in order to support a defense or counterclaim based on principles of res judicata,
  11 collateral estoppel, full faith and credit, release, good faith settlement, judgment bar or
  12 reduction, or any other theory of claim preclusion or issue preclusion or similar
  13 defense or counterclaim; (ii) in furtherance of the Settlement contemplated in the
  14 Stipulation; and (iii) in any action to enforce the Settlement.
  15         13.   Without affecting the finality of this Judgment in any way, this Court
  16 hereby retains continuing jurisdiction with respect to implementation and enforcement
  17 of the terms of the Stipulation. If for any reason the Effective Date does not occur, or
  18 if the Stipulation is in any way canceled, terminated or fails to become Final in
  19 accordance with its terms, then: (a) all Settling Parties and Released Persons shall be
  20 restored to their respective positions in the Federal Actions and the State Actions as of
  21 July 30, 2018; (b) all releases delivered in connection with the Stipulation shall be null
  22 and void, except as otherwise provided for in the Stipulation; (c) the Fee and Expense
  23 Amount paid to Plaintiffs' Counsel shall be refunded and returned within ten (10)
  24 business days; and (d) all negotiations, proceedings, documents prepared, and
  25 statements made in connection herewith shall be without prejudice to the Settling
  26 Parties, shall not be deemed or construed to be an admission by a Settling Party of any
  27 act, matter, or proposition, and shall not be used in any manner for any purpose in any
  28                                            -3-
       [PROPOSED] ORDER AND FINAL JUDGMENT                                            EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                Page 72
Case
Case 2:18-cv-04802-AG-DFM Document 17-1
     8:18-cv-00236-AG-JCG Document 18-1 Filed
                                        Filed 09/28/18
                                              02/28/19 Page
                                                       Page 70
                                                            70 of
                                                               of 70
                                                                  70 Page
                                                                     Page ID
                                                                          ID #:182
                                                                             #:237




   1 subsequent proceeding in the Federal Actions, the State Actions, or in any other action
   2 or proceeding. In such event, the terms and provisions of the Stipulation shall have no
   3 further force and effect with respect to the Settling Parties and shall not be used in the
   4 Federal Actions, the State Actions or in any other proceeding for any purpose.
   5             14.   Pursuant to Rule 23.1 of the Federal Rules of Civil Procedure, this Court
   6 hereby finally approves the Stipulation and Settlement in all respects, and orders the
   7 Settling Parties to perform its terms to the extent the Settling Parties have not already
   8 done so.
   9             15.   This Judgment is a final judgment, and the Court finds that no just reason
  10 exists for delay in entering the Judgment in accordance with the Stipulation.
  11 Accordingly, the Clerk is hereby directed to enter this Judgment forthwith in
  12 accordance with Rule 58 of the Federal Rules of Civil Procedure.
  13             IT IS SO ORDERED.
  14
  15 DATED:
  16                                                 HONORABLE ANDREW J. GUILFORD
                                                     U.S. DISTRICT JUDGE
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  28                                              -4-
       [PROPOSED] ORDER AND FINAL JUDGMENT                                             EXHIBIT 1
       CASE NO. SACV 18-00236 AG (JCGx)                                                 Page 73
